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          21-2563-cr
                                          IN THE

                  United States Court of Appeals
                                   FOR THE SECOND CIRCUIT

                           UNITED STATES OF AMERICA,
                                                                           Appellee,

                                            vs.


                                   NICHOLAS TURNQUIST,
                                                                Defendant-Appellant.

                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK



                                   JOINT APPENDIX
                 VOLUME II of II (Pages A-279 to A-407)


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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,

               v.                                                            21-CR-15-JLS-JJM

NICHOLAS TURNQUIST,

                        Defendant.
________________________________________________


                    GOVERNMENT’S RESPONSE IN OPPOSITION
                 TO DEFENDANT’S SECOND MOTION FOR RELEASE

       The United States of America, through its undersigned attorneys, submits this

response in opposition to Defendant’s Second Motion for Release from Custody (Dkt. 30)

(the “Motion”). The defendant’s Motion should be denied for the following reasons.



I.     The Defendant Again Understates The Evidence Against Him.

       In his Motion, the defendant again understates the powerful evidence against him.

Specifically, the defendant insists that he did not admit during the controlled phone call that

he engaged in sexual activity with Victim 1 when she was underage. In fact, in the relevant

portion of the call – quoted at length below – Victim 1 confronts the defendant about having

sex with her when she was a kid and he expresses remorse for it:

       VICTIM 1: Okay. Well, there -- I need to talk to you, like -- like, Justin's [Victim 1’s husband] starting
       to ask questions, like. He's -- how am I supposed to tell him that --

       NICHOLAS TURNQUIST: I don't know what you want me to tell you. If you want to talk, then
       come over, talk. If you wanted Riley to see Lyla, you can take her anytime you want.

       VICTIM 1: I just need to know your input here. Like, he want -- like, he wants to know if -- he knows
       that I did things with you, okay. Like --

       NICHOLAS TURNQUIST: Right.
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VICTIM 1: He wants to know if I -- how old I was, and if I was a virgin, and all this other shit. Like,
how am I supposed to explain this to him? Like, help me.

NICHOLAS TURNQUIST: I don't know how you're supposed to explain anything. I -- I don't. I --
I'm -- I feel -- this is what I'm telling you. I still don't know how to explain shit that I've seen. I still beat
myself up over decisions that I've made as, far as shit when I was 13 and 14-years-old that fucking
caused me ever to be able to be a cop. That I sit there, and I can't get over because I -- I beat myself up
going, if I had just did that differently.

VICTIM 1: That's when you started doing stuff with me, though.

NICHOLAS TURNQUIST: When I was 13 or 14, I didn't even know you.

VICTIM 1: No. You're --

NICHOLAS TURNQUIST: I don't know what you're talking about.

VICTIM 1: Like, you're saying you've had stuff going on since 13 and 14, so have I.

NICHOLAS TURNQUIST: That's crap. Like, I -- I -- I don't know what you want me to tell you
here. Like if --

VICTIM 1: Nick, I -- this is me and you, okay? I don't know if you're around Carley or what, but I just
-- why can't you just talk to me one-on-one for five seconds?

NICHOLAS TURNQUIST: I am talking to you.

VICTIM 1: I need your help, Nick.

NICHOLAS TURNQUIST: I'm – [Victim 1], I am talking to you. I don't know what you want me to
say to you.

VICTIM 1: Like, it's not like I can go to a counsellor and be, like, oh, I had sex with my stepdad from,
fucking, when I was a little kid to fucking –

NICHOLAS TURNQUIST: Oh my God. Okay.

VICTIM 1: -- until I was 18.

NICHOLAS TURNQUIST: And then -- and then if that's what you feel you need to do, then go ahead,
because that's crap, but.

VICTIM 1: No, it's not what I need to do. Nick, could you shut the fuck up here? Like, let's be serious.
I don't know what the fuck you think is going on here, but you're not bullshitting me right now. Okay.
I'm trying to have a conversation with you one-on-one. I don't know if it's because I'm on speaker and
you're with Carley or you're next to her or what.

NICHOLAS TURNQUIST: No, I'm in the fucking bedroom by my damn self. I don't need this
(inaudible)

VICTIM 1: Well, what the fuck, Nick, okay? I don't need this shit right now.

NICHOLAS TURNQUIST: I don't either. Like I don't know what the hell you want me to tell you.

VICTIM 1: I want you to one-on-one --


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NICHOLAS TURNQUIST: (Inaudible) Justin come over and I'll talk to him, too. You want to meet
somewhere, I'll meet somewhere. If you want to hang out with Riley and Lyla, then you (inaudible)
discuss that with her. I -- I -- I'm giving you options here.

VICTIM 1: Can you at least just tell me why?

NICHOLAS TURNQUIST: Why --

VICTIM 1: What made you want to do something with me?

NICHOLAS TURNQUIST: Why what?

VICTIM 1: What made you want to do things with me? Like, I wasn't pretty.

NICHOLAS TURNQUIST: Because you wanted to. Like, what -- I'm not going to sit here and keep
having the discussion because I don't like the fact of any of it either, so. It is not something that I'm
exactly fucking comfortable with. Do you think, like, what I -- I sit there and love that, or -- or --
fucking what? No.

VICTIM 1: I'm not saying you did, I just want some input here on how I'm supposed to get through it.

NICHOLAS TURNQUIST: Well, because it was a fucking consensual thing, and it fucking happened,
and unfortunately, it can't be taken back.

VICTIM 1: Yes.

NICHOLAS TURNQUIST: So.

VICTIM 1: But yeah, it was --

NICHOLAS TURNQUIST: You think that I fucking sit there and don't fucking regret very second of
it? Well, sure, but what the fuck. I -- nothing I do or say can get rid of that. Nothing I say or do –

VICTIM 1: Okay. But realizing now when I'm older, how was it consensual at the ages that I was?

NICHOLAS TURNQUIST: Seriously?

VICTIM 1: Yeah. It could have been where it was whatever, but I didn't know any better.

NICHOLAS TURNQUIST: Okay.

VICTIM 1: I was a kid. Like, do you -- is that what you regret, or do you regret, like, the whole
thing? Do you regret the young part, do you regret the old part, do you regret the whole thing?
Like, all you keep saying is, oh, I regret it.

NICHOLAS TURNQUIST: Yeah.

VICTIM 1: Okay. So what do you regret?

NICHOLAS TURNQUIST: That it happened.

VICTIM 1: Wow. Okay. All right.

NICHOLAS TURNQUIST: I mean, what was the point of this phone call, just to ask me that?



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        VICTIM 1: No. The point was for you to help me here. But if you regretted the whole thing, then why
        didn't it stop?

        NICHOLAS TURNQUIST: First of all, it did. So I don't know where you're coming from.

        VICTIM 1: Yeah, when I moved. [Victim 1 moved out when she was 18.]

        NICHOLAS TURNQUIST: I don't know half of where the hell you're coming from right now so.
        (Inaudible)

        VICTIM 1: When I moved is when it stopped. The question -- whole point of this phone call wasn't
        for me to find out that you regretted it. The whole point of this phone call was for you to help me figure
        out how I'm supposed to fucking tell my husband all of this.

        NICHOLAS TURNQUIST: And -- and that -- that was me telling you that -- if the times that it
        happened, it -- I -- I regret doing it, and I have trouble myself understanding it. How am I supposed to
        help you if I can't even help myself?

        VICTIM 1: I don't know, I guess. I was hoping that I had something calling you.

        NICHOLAS TURNQUIST: Well, and I'm trying to, but you don't think that I sit there and fucking
        want to smash my head against the wall? Knowing that I -- I raised you, and I -- I let things happen?
        Like, no. I feel like a fucking piece of crap, but nothing I can think of and nothing that I can do is going
        to change that that happened.



        During the above conversation, Victim 1 becomes very emotional and is crying at

several points, reflecting the trauma she suffered at the hands of the defendant. 1



        In addition to the controlled phone call, the defendant made a jail call after his arrest

in which he told his wife to look up the age of consent in Pennsylvania, Ohio, Maryland,

South Carolina, Florida, and Canada, i.e., the places that he traveled to with Victim 1.

Defendant says to his wife at one point, “let’s say Pennsylvania is 15,” then, according to the

defendant, law enforcement cannot charge him with a crime. This jail call corroborates the

charge here, which is that the defendant took Victim 1 to Splash Lagoon in Pennsylvania and

had sex with her there when she was only 16 years old.




1
 The government can provide a copy of the video recording of the controlled call to the Court if the Court wishes
to watch it directly.

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       The charge in this case is further corroborated by the defendant’s biological daughter

identified as Minor 2. Minor 2 told the interviewers from the Child Advocacy Center that

she witnessed defendant have sexual intercourse with Victim 1. She specifically recalled a

trip to Pennsylvania that took place when she was five years old and in the middle of

kindergarten. She recounted the defendant and Victim 1 having some clothing on but Victim

1 being on top of defendant, facing him, her legs spread over defendant, and that the two were

under a blanket. Minor 2 heard Victim 1 tell defendant to stop but he told her that he was the

adult and would do what he wanted.



II.    Defendant Has Not Overcome The Presumption Set Forth In Section 3142(e)(3).

       Because the defendant is charged with an offense involving a minor victim in violation

of 18 U.S.C. § 2423, there is a presumption that no condition or combination of conditions

will reasonably assure the defendant’s future appearance in Court and the safety of the

community. See 18 U.S.C. § 3142(e)(3)(E). The defendant bears the burden of producing

evidence to rebut that presumption. See United States v. Thompson, 436 F. Supp.3d 631, 635

(W.D.N.Y. 2020) (“The presumption shifts to a defendant ‘a limited burden of production—

not a burden of persuasion—to rebut that presumption by coming forward with evidence that

he does not pose a danger to the community or a risk of flight.’” (citing United States v. Mercedes,

254 F.3d 433, 436 (2d Cir. 2001)).


       A.      Safety of the Community

       The presumption that the defendant poses a danger to the community is well justified

here. There is compelling evidence that the defendant sexually abused his stepdaughter when

she was a child and while she was in his care. This speaks to the defendant’s disregard for the

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safety of others and his willingness to hurt the most vulnerable members of the community

for his own gratification. Furthermore, as Victim 1 testified at trial in Wyoming County, the

defendant threatened Victim 1 and her mother, grandmother, and sisters with violence if

Victim 1 told on him. The defendant also repeatedly committed acts of physical violence

against Victim 1 and her mom. See Dkt. 19, Exhibit A, trial transcript pages 38-39, 40, 43.

Moreover, there has been an instance of witness intimidation already in this case, as the day

that Victim 1 testified at trial in Wyoming County Court, the defendant’s wife tried to run

Victim 1 off the road. The defendant has not offered any new facts or evidence in his Motion

to rebut the presumption that he presents a danger to the community.


         B.    Risk of Flight

         The defendant faces a mandatory minimum sentence of 10 years in prison if convicted

and the possibility of a life sentence. He additionally faces significant state prison time in

Genesee County and Erie County. He has an enormous incentive to flee. Consequently, the

bond that the defendant proposes is wholly insufficient. Defendant does not offer to post any

of his own money or property, but offers only the equity in another person’s property. There

is little reason to think that the defendant – who has demonstrated a willingness to put his

own interests above those of a young family member in his care – will not again put himself

first.




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                                 CONCLUSION

      Defendant has failed to overcome the statutory presumption for detention. His

Motion should be denied.


      DATED: Buffalo, New York, September 16, 2021.


                                            JAMES P. KENNEDY, JR.
                                            United States Attorney


                                      BY:   s/ PAUL E. BONANNO
                                            Assistant United States Attorney
                                            United States Attorney’s Office
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                 Plaintiff,

v.                                                                Case No. 21-CR-15-JLS-JJM

NICHOLAS TURNQUIST,

                                 Defendant.


                              ATTORNEY REPLY DECLARATION

                I, ROBERT C. SINGER, ESQ., make this Declaration under penalty of perjury

pursuant to 28 U.S.C. § 1746:


                1.      I am an attorney at law duly licensed to practice in the State of New York

and this Court and I am Owner of Singer Legal PLLC, attorneys for defendant Nicholas Turnquist.


                2.      I submit this declaration in reply to the government’s opposition and in

further support of the defendants’ Second Motion for Release from Custody.



             Mr. Turnquist is able to post $5,000.00 of his own money, if necessary

                3.      In opposition, the government argues that the Court should not release

Mr. Turnquist because he did “not offer to post any of his own money or property, but offers only

the equity in another person’s property” and, as a result, “[t]here is little reason to think that the

defendant . . . will not again put himself first” over family and abscond. See Dkt. 34 at 6 (emphasis

in original). The defense does not agree with the premise of this argument for the reasons stated in

its motion. Beyond that, Mr. Turnquist offers three points in reply.



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                4.      First, unlike state courts, federal courts rarely require defendants to “post”

their own money to obtain pretrial release. The Bail Reform Act was enacted to prevent this practice

and to differentiate the system of pretrial release in the federal courts from the manner in which bail

is imposed in state court systems.



                5.      Second, Mr. Turnquist informed me yesterday that if the Court requires him

to have “skin in the game,” then he and his wife believe they are able to post $5,000.00 cash bail

with the Clerk’s Office using equity and operating funds in their business as well as an expected

payment of state and federal benefits.



                6.      Third, it is important to note that pretrial release under the Bail Reform Act

does not require conditions, financial or otherwise, that guarantee appearance or remove all risk. As

Magistrate Judge Scott aptly put:

                Despite its willingness to allow defendant a chance at release, the
                Court acknowledges that “the enforcement of all constitutional
                restraints upon government in its efforts to administer the criminal
                law entails risks.” United States v. Gonzales Claudio, 806 F.2d 334, 343
                (2d Cir. 1986), superseded in part on other grounds by Fed. R. Crim P. 5(c).
                “That, of course, is true of every defendant released on
                conditions; it is also not the standard authorized by law for
                determining whether pretrial detention is appropriate. Section
                3142 speaks of conditions that will ‘reasonably’ assure
                appearance, not guarantee it.” United States v. Xulam, 84 F.3d 441,
                444, 318 U.S. App. D.C. 1 (D.C. Cir. 1996) (citation omitted).

United States v. Albannaa, No. 12-CR-174S, 2013 U.S. Dist. LEXIS 135618, at *9 (W.D.N.Y. Sep. 23,

2013) (Scott, J.) (emphasis added). Furthermore, under the Bail Reform Act, a judicial officer is not

permitted to impose any financial conditions of release which result in the pretrial detention of a

defendant. See 18 U.S.C. § 3142(c)(2). Instead, a Court is required to impose the least restrictive

conditions possible that will reasonably assure the defendant’s appearance and the safety of the public.


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See 18 U.S.C. § 3142(c)(1)(B). To the extent the government advocates for more than that, its

argument should be rejected.



                                             Conclusion

               7.      For the reasons set forth above and in previous filings, the Court should

adopt the recommendation of the Probation Office and release Mr. Turnquist from custody

forthwith.


Dated: September 17, 2021
       Williamsville, New York

                               SINGER LEGAL PLLC
                               Attorneys for Defendant Nicholas Turnquist

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09:20:28    1                      UNITED STATES DISTRICT         COURT

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            Z                       WESTERN D]STRICT OF NEW YORK

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            J                                         x
                 UNITED STATES OF AMERICA             )      21CR15
            6                                         )



            1                                                Buffalo, New York
                 NICHOLAS TURNQUIST,                           September 9, 2019
            B                                                   3:30 p'm'
                                   _ :':"1o:":'_ x
            9    BAIL HEARING
                 Transcribed from an audio recording
           10    AJ-l parties appeared via Zoom for Government pJ-atform
           11                     TRANSCRIPT OF PROCEEDINGS
                          BEFORE THE HONORABLE JEREMIAH J. MCCARTHY
           72                   UNITED STATES MAGISTRATE JUDGE
           13

           74                         JAMES P. KENNEDY, JR., ESQ.
                                      United States Attorney
           15                         BY: PAUL BONNANO, ESQ.
                                      Assistant United States Attorney
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                                      Singer Le9aI, PLLC
           19                         B0 East Spring Street
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           24    COURT REPORTER:      Karen J. CJ.ark, Official- Court Reporter
                                      Karenc].arkl0 13 GAOL . com
           25                         100 State Street
                                      Rochester, New York L4614
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                    1                            USA     VS. N.      TURNQUIST

                    2
                                         PROCEEDING
                    3                    ***
                    4


72:43:15            5

L2:43      18       6

09:21:     10       1                    MAGISTRATE JUDGE MCCARTHY: You Want                  to
09:21:10            B   call    the matter,     Eric.
09:27:72            9                    THE CLERK: Werre on the record in 21CR15,
09;27:11 10             United States versus Nicholas Turnquist                  for a bail
09l.21-l.21     11      hearing.       Present by video is AUSA Paul Bonnano
09:2\:21        L2      defendant with attorney Robert Singer appearing by
O9:21:33        13      telephone.       Honorable Jeremiah J. McCarthy presiding.
09:2).:42 l4                             MAGISTRATE JUDGE MCCARTHY:              Mr. Turnquist,
O9:27:44        1   5   can you see and hear            me?

09 :21.:   46   75                       THE DEFENDANT: Yes, I can, your Honor.
09l.21.:4'1 l1                           MAGISTRATE JUDGE MCCARTHY: We              have the
09:21:48        1B      defense motion for release which the government opposes.
09 27      52   19      Couns   e1,   have you both received Mr. McCray's Pretrial
09:21:5B 20             Services Report dated September 2nd.
09:22:03 2l                              MR. BONNANO: Yes, your Honor.
09:22:04 22                              MR. SINGER: YCS, for the defense.
09l.22:O5 23                             MAGISTRATE JUDGE MCCARTHY:              Okay.    I
09:22:06 24             reviewed the papers and f             '11_   hear from counsel.
09t22zL0 25                              MR.   BONNANO:        Your Honor, would you LIKE          me
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09:22:72         2    to address the Court EIRST or because it              is the
09l.22:15        3    Defendantrs motion, f don't know.
09   222:76      4                     MAGISTRATE JUDGE MCCARTHY:          Yes.    Itrs     the
O9l.22:l'1       5    Def endant I s   moti,on, So I'l-1 hear f rom Rob f irst.
09:22:27         6                     MR. SINGER: Thank you, your Honor.                 And I
09:22:23         1    appreciate the last minute fixes           to make this happen
09 22:2'1        B    today as well as Mr. Turnquist,           so I appreciate the
09l.22:30        9    Court's flexibility.          Your Honor, T know that my papers
09   22:33      10    are somewhat lengthy as far as the exhj-bits are
09l-22:36 11          concerned, So frm not going to go into everything                    today.
09:22:39        12    I know that you reviewed them.            This situation       is what I
09:.22:46 13          believe merits release,         I think that is why the
09:.22   z   48 14    probation office       endorsed that option today.           Given the
09l-22:.51 15         nature and circumstances of the offense and the
O9:23:13 L6           allegations      in this    case are serious,      but, at this       time,
09:23:76        1'7   they are nothing more than what you said at arraignment
09:23:.79       1B    - allegations.       And when you take a Iook and boil               down

09:23l.22       19    the evidence in the case, I think f have, to                some

09:23:25 20           degree, a Iot more expansively in most cases, since I
09:23:31 2I           had a preview of most of the evidence that possibly
O9:23:36 22           would be turned over as weII as presented against                    my

09:23:39 23           client.    There are a lot of concerns raised,              the most
09:23:42 24           importantly      is the credibility      of Miranda KranLz, the
O9:23:41 25           alleged victim      in this    case.    Prior to moving back to
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09:23:55          2    BuffaIo,     for eight years I served as               a   special- victims
09:24l.30         3    and prosecuted hundreds of sexual assault cases and
09l-24      34    4    investigated      hundreds of them/ whether they involved
09   24:3-1       5    adufts or children.           The one       thing that is consistent              in
09:24       40    5    every one of the cases and is di fferent                    than the cases
09:24   z   44    1    we see in Federal Court is the credibility                      of the victim
09;24       41    B    in the case is essential.               And when his or her
09l.24:-49        9    believability         becomes suspect, the weight of the
09:24:.53 10           evidence against the accused and the Iikelihood                        of
O9   24:56       11    conviction      falIs     by the way side.           And f've been on the
09 24259 72            receiving     order of      many   acquittals        as a prosecutor         when

09:25:04 13            the alleged victim          did not testify          credibly      and did not
09:25:09 t4            have a track record of testifying                consistently         and

A9:25:41         15    credibly.       And     that is the situation          that we face here.
O9:25:      45 76      You know, like          T said in our motion, this              goes beyond
09l-25:49 71           just a faulty         memory of    a   child,   which f've dealt with
09225:52         1B    before,     or the ineptitudes          of the prosecution           team,
09:25       51   19    which, thankfully,          I didn't        say it before, but was           on

09:26:\1 20            display     in one of the counts here.                It comes down to the
09:26:20 2l            heart of the evidence in this                case.     And we don't
O9   25:22       22    believe the weight of the evidence in this                       case is
09:26l.24 23           strong as a resul-t of that.
09:26225 24                             When you turn to the history                and

09:26:2'1 25           characteristics          of Mr. Turnquist,       he is an individual,
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09   26:30         2    he has been a member of the community for many years.
09:26:33           3    He is an individual            that has maintained employment, has
A9   26:3'1        4    family tj-es, has a background of engaging in work which
09:26:41           5    required background investigations,    whlch he passed, and
09l.26:43          6    during all of the t j-me, and regarding the danger that he
09   26:49         1    potentially     poses the community, I guess if                 you believe
09226:52           B    the allegations,            this   is a potential      danger to    Ms.

09   26:56         9    Krantz or perhaps other family members, but consistently
09:21:Ol          10    throughout this            case, Mr. Turnquj-st has never violated
09:2'l:04 11            an Order of Protection              that was put in place since the
09221      :06    12    inception     of these charges.               And, you know, I think that
09:2'1     :lO    13    is a testament to who he is and where his head is.                         I
O9   2-1   :15 74       know the government has brought up the fact that Carrie
09:.21     :)-B   15    Turnquist,     my client's          wife,     is currently    under charges
09:21      :22    16    for witness tampering.                I've had an opportunity        to
09 221     :28 71       investigate     that case, and I think the most important
09:27:30          1B    thing that,         like    I put in in my motion, is Mr. Turnquist
09:27      :35    19    was not involved in that.                   That case is specific     to
09:2'l:38 20            Carrie Turnquist,            and it    should have no bearing on what
09   2'l:41       27    he wiII     do if     released.        The other part is when I
09l.2'l    :46 22       started     to investigate          the case a IittIe        more, I came to
09:2'l     :48    23    realize     the charges sound a lot worse than what actually
09:2't:52         24    happened and what transpired.                   I have a video of the
09l.21     :56 25       responding officer            that I received from Ms. Turnquist's
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                   1                             USA VS. N. TURNQUIST
09:28:00           2   counsel today.          And I disclosed that to the government
09:28    tO4       3   prior    to the hearing.       I don't know if Mr. Bonnano had
09:28:08           4   an opportunity         to review    it.   r think    it put in context
09:28:11           5   what happened, which is two cars were on the road.                       Ms.

09:28l.14          6   Turnquist overtook Ms. Krantz's             vehicle.     Ms. Krantz       was

09:28:79           1   never driven off the road like             she alleged inside the
09:28:23           B   complaints in this         case because that is not what she
09 28:25           9   reported to the responding officer.                 And, most
09:28:21       1   0   importantly,         when the responding officer        came and
09:28:30       11      engaged in six minutes of conversation was caught on
09 28l.36 L2           body cam, she was not overly concerned, she was not out
09   228:,40   13      of sorts.      Her behavior was nothing to suggest she                  was

09:28:.45 14           scared and feared with her life.              She was refatively
09:28:48       15      calm and joked with the officer.              And when given the
09:28   :51    L6      opportunity,         she took most of the ti-me to bash Mr.
09:28   :54    11      Turnqui-st as opposed to report what happened with regard
O9:28:5T       1B      to Carrie Turnguist,         and this allegation        of tampering
A9   29:OO 79          with her.      So, you know, I don't bel-ieve there is              a

09:29:   03 20         danger to the community based on that event alone.
09:29:O't      21,     Einaffy,     I think,     as Irve hiqhlighted        to you, Judge,
09:29:   ll    22      there are a number of motives to fabricate                in this       case,
09:29:15 23            which shoul-d cause the Court to view with some suspicion
09:29:L9 24            some of the allegations            raised by the complainants in
09:29:22 25            this    situation.       And on top of that,        a Iot of the
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                     1                              USA VS. N. TURNQUIST
09    29:25          2    witnesses have inconsistent               statements throughout.         I
09:29l.29            3    just gave you, as I said in my motion, the tip                     of the
09    29:32          4    iceberg when it      comes to some of the inconsistencies
09:29:36             5    that I spotted,      and this          1s just on my initial       review of
09:29239             6    the evidence.       So, at the end of the d.y,               I think there
09   :29       42    'l   are conditions      the Court can impose to aflow Mr.
           =




09:29:44             B    Turnquist to be removed from institutional                    confinement
09l   29:49          9    pretrial.      I know that the condition,               one of the
A9:29:52            10    condltions    that the probation office                proposed was    home

09:29:55 11               detention.      We ask that        you not pose that,         Judge, and
09:29:58            L2    i-t's based on the fact that Mr. Turnquist needs to work.
09:   30:02         13    He needs to work because thi              s    allegation   and these cases
09:30:07            14    that have been stacked            on    top of each other have caused
09:30:10            15    great financial      ha   rdship wi th him, one of the reasons
09:30:13 t6               f 'm appointed in t.his case.                 He has been unable to
09:30:16            71    support his wif e, unabl-e to support his children,                    unable
09:30:18            1B    to support himself,         and    the financial        stress wiII
09    30l.22 19           continue if he is unable to work outside of the home. I
09:30:25 20               think there are conditions               that you can put in place
09z30:2-1 27              that involve electronic            monitoring        or Order of
09:30:30 22               Protection    or other things to ensure safety of the
09:30:33 23               community and safety of Ms. Krantz.                    I think also,
09:30:35 24               Judge, what f ask you to consider,                   since there are two
09:30:39 25               corresponding state cases, one of which has imposed bail
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09:30:42                2   in the form of cash bond or property and one of which, I
09:30:48                3   expect, potentially,          as early as next week to do the
09:30:51                4   same, that you consider not imposing any type of
09:30:55                5   financial      surety condition     as part of bail      in this        case.
09:    30:59            6   Mr. Turnquist,      as weII as his family,          are probably in          a

09:    31:02            1   position     to afford    two state cases, but they are not
09:31:07                B   able to afford      a third     case if   cash is imposed in this
09:31:11                9   caser so we ask that you don't impose that.                   But if      you

09: 31:        15   10      do consider that as a condition,            impose a signature bond
O9: 31:        19   11      alone without any type of initial            surety backing part.
O9:    31:55        1-2     For aII of those reasons, we believe that Mr. Turnquist
O9:31:57 13                 should be released forthwith.             I'm prepared to       move

O9: 32     :01      74      forward and prepared to prepare for his defense in this
09:32:04            1   5   case.      And he can do that better        outside of a jail           ce11,
09:32:         O9   76      particularly      under the circumstances of the situation.
09   :32   :.12 7'l                          MAGISTRATE JUDGE MCCARTHY:           Thank You, Mr.
09:32:13            1B      Singer.
09:32      :   14 19                         Mr. Bonnano?
09:32:15 20                                  MR. BONNANO: Thank you, Judge .              I ' II j ust
09:32:20 2L                 make a few points         in response to that,       Judge.     As   my

09 t   32      23   22      papers, I think,         Iaid out my argument as weII.            The

09:32:26 23                 first   point that f want to hiqhlight,             though, is there
09:32:29 24                 is a presumption for detention            in this    case.     The

O9:32:33 25                 defendant is indicted          on a charge Title      1B U.S.C.
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                     1                               USA VS. N. TURNQUIST
09:32:36             2   Section 2423 (a) , transportation                    of a minor for purposes
09:32:43             3   of itlegal        sexual activity.                Given that charge, section
09:32:49             4   3L42   (e) (3) (E) capital            (E) does provide for presumption
09:32:55             5   of detention           here based on the nature of the charge and
09:32:58             6   the f act that it          involves a minor victi-m.                   I 'd also
09:33:    02         1   point out that it           carries       with it      a mandatory minimum
09:33:    05         B   sentence of        10    years up to a maximum of life.                       I believe
09:33:09             9   the Guideline range is about 121 to 151 months, so the
09: 33:   14     10      defendant is facing              a    very significant         sentence,           a

O9: 33:   17     11      minimum of        10    years.        So he does have incentive
O9:33:21         72      certainly     to flee.           He    is alsor dS the Court is aware /
09l-33:24 13             now indicted           in Genesee County on charges of rape and
09:33:29 l4              sexual abuse, he faces up to seven years in state prison
09:   33:32      1   5   on those charges if              he    is convicted.         And      he    is indicted
O9:33:36         1-G     in Erie County on three separate counts of rape.                                       On

O9:33:40 7'l             each of those, he faces up to four years in state
09 33242 1B              prison.      So he is facing' a Iot here.
09:33:46 79                                 Mr. Singer commented on the evj-dence.
09:33:49 20              Judge, you know, Itve                 been    a   prosecutor for a long time
O9:33:52 27              as well.      I prosecuted lots of violent                     crime.         f've been
                         a prosecutor fifteen                 years.       I don't know that counsel                 Is
O9:   33:55      22

09:33:59 23              opinions     on    the evidence and based               on    their        prior
09 :,34   :02    24      experience are really                 that re I evant   ,    but, in my view,
09:34:    O6 25          the evidence here is quite powerful,                         not only because of
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09:34:10              2   the testimony of victims          or the victim      here and other
09:34:14              3   witnesses, but because of the admlssions of the
09: 34 : 1l           4   defendant.      And   I hiqhrighted     those in     my   papers.
09:34:.21             5   Shortly before the defendant was arrested,                    the victim
09:34:.24             6   here, the minor vi ct i-m, made a controlled              phone caIl          to
no.?/.ro              1   the defendant in whi ch he made a number of admissions
09:34:33              o   effectively     acknowledging consciousness of guilt.                    He

09:34:40              9   says he regrets what happened.            The victim          in the case
O9:34      :43    10      said in that controlled        phone caII,     and I'lI         just read          a

a9 34: 46         11      very short part of it,        Judge,    "How was it       consensual at
09:34:50          72      the ages I was? f was a kid.             Do you regret          that?      Do

09:34:54 13               you regret the whole thing or the young part or the old
09:34      :57 \4         part?   Do you regret       the whole thing?"         To which the
O9:35:01          1   5   defendant said that he regretted           that it happened.
09:35:04 76               That, again, reflects        consciousness of guilt.              It    was

09:   35:08       1,'l    also a recorded jail        caII that the defendant made to his
09:35:11          1B      now wife in which he asked her to look up the age of
09: 35:    15     19      consent in a number of states that he traveled                    to with
09:35:19 20               the victim,     including    Pennsylvania, Ohj-o, MdryIand,
O9:35:25 27               South Carolina and Elorida.            And he posed       a

09   t35   2'1    22      hypothetical,     he said on the jail        calI,    "Letrs say the
09:35:31 23               age of consent in Pennsylvania is 15, how could I be
09: 35:    35     24      charged with anything there?"            That tends to corroborate
09: 35:    39 25          with what he is charged with here.             He is charged wlth
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09: 35:   44        2   taking the victim       when she was 76 years old to
09: 36:   10        3   Pennsylvania for the purpose of eliciting                      sexual
09: 36:   13        4   activity.      He, aIso,   when      interviewed    after        or around
09:36:1?            5   the time he was arrested by East Aurora police,                         he

09:36:21            6   acknowl-edged that he had sex with the victim,                     his
09:36:24            1   stepdaughter,     when she was 1B or maybe           1,1   .     So there are
09:41:16            B   a Iot of statements that the defendant himself made that
09:41:19            9   corroborate what the victim            has alleged here.            The

09:41l-22 10            vi ct i-m did testify    at triaI.          She was cross examined,
09:47:25        11      Judge.      She never wavered at all           from the fact that this
09:41:31        L2      de   fendant repeatedly raped her.             That was her testimony.
09:41:35 13             Starting    when she was a child,            when she was 12 or              13

09:41:40 !4             years ol-d and carrying        on    until- she was 71 years old.
09: 41   :43    1   5   She never backed off that for a second.                    The only reason
09:41:48 L6             the V[yoming County indictment              was dismissed was because
09:41:53 l1             the way it     was charged.         It was alleged that the conduct
09:41:56        1B      occurred when she was under            13    and informatj-on presented
09: 42   :00    19      to Wyoming County Judge Molin seemed to indicate                         to him
09z   42:.05 20         that the conduct occurred            when    she was 13, so        he

09:42209        21,     dismissed the indictment            on that ground.            But, again,
09 422:-1 22            the victim     never wavered in her testimony.                   There are
09:42:75 23             other witnesses as weI1, including               her sister,        minor
09:.42l.\B 24           s ister, and other fami 1 y friends.             There are also
09l.42:22 25            mul-tip1e prompt out crj-es that she made, for example, in
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09:42221              2   2OL2. Now, Mr. Singer says, welI,              there are reasons to
09     42:3\          3   fabricate     here, including    a custody battle,          but there
09l.42:,35            4   was no custody battle       back in 20L2.        So for all     those
09 42 43              5   reasons, your Honor, I thj-nk there is very strong
09:43:08              6   evidence.      I think there are very Iegitimate             concerns
09:43:      11        1   about safety of the community.           The defendantrs
09:43:14              B   daughters, the step sisters          or hal-f sisters       of the
09:43:19              9   victim     are 11 and 12 years old.       There is a serious
09:.   43l.23     10      concern about their     safety if      the defendant is released
09:43l-26         11      And for aI1 of these reasons, the government strongly
09:43:28          L2      opposes release your Honor.
09:    43:31      1   3                   MAGISTRATE JUDGE MCCARTHY: Thank              you.   Mr.
09:43232 l4               Singer, what about the jail          calls?
09:43:3? 15                               MR. SINGER: WeII, Judge, I think there are
09: 43:     39    1-6     two things that I could say in response to these
09:.43:42         1-1     admissions that Mr. Bonnano raises.              First   with regards
09:43:45          1B      to j aiI    cal-Is, I think you have to understand the
09:43:49 L9               context in which the cal-l-s occurred.            Earlier     on in the
09:    43:52      20      case, before I got involved in the case, to be perfectly
09:43:55 2I               honest, Mr. Turnquist had doubts about his counsel-, and
09:43:58 22               he, along with his wife,        were strategizing        ways in which
09:44   :03 23            they could defend against the charges.              And, you     know

09:44   :   05    24      what, fry client    is not a lawyer.          He is not someone
09:44:08 25               and I don't want to speak under him, but he is not
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09:44l.12            2    someone highly         educated, and he is trying          to come up
09:44:15             3    with ways, ds a jailhouse             Iawyer, to try and defend
09 44:79             4    against these charges.            And one of the ways that people
09:44:22             5    defend against the charges is what is the age of
09:44:.26            6    consent.      So I think what Mr. Bonnano is referring                    to
09 44l.29            1    are unartful         ways in which he is trylng         to determine
09:44:58             B    what is a defense f have in t.his case after                    he has
09:    45:02         9    gotten crushed with allegations                 that put him behind bars
O9:    45:05        10    out of nowhere.          So I think that is the way I would
09:    45:09        11    respond to that.
O9:45:        1O 72                           Viith regard to the controlled         cal-I, Judge, I
09:-45:.12 13             mean, I don't think there is any hiding from the facts
O9:45:16            1,4   that. Mr. Turnquist engaging in relations                with someone,
O9:45221 15               not his biological daughter, it's his stepdaughter, is
09:45:21 l6               something that may not s j-t right with some people and
09:45:30 L]               dj-dn't sit    right     with him.       And as our papers        made

09:45:45            1B    cIear,   when the police         confronted him about this,              he

09:45:48 19               never hid from the fact that that happened and                     he

09 t   45:52 20           regretted     it.      And when Miranda Krantz calIed him up
09:45:56            21,   that day on this         controlled      call    attempting to try and
09:45:59 22               get admissions out of him, what he regretted                     was the
09:    46:,   02    23    fa ct that    the two of them engaged in sexual intercourse
09:45:        O5    24    ona number of occasions when she was 7'7, when she                        was

O9:46:09 25               18, when she was older than that,                 more Iikely     than that,
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09:46          74        2   and he has never hid from that fact.                     The only person
09:46:17                 3   that hides from that factr                 dS we set forth    in the
09l.46:.21               4   papers, is Miranda Krantz where she basically                    denies and
09 46          26        5   says this never happened, this never happened. And if
09:46:53                 6   you had     an     opportunity       to review some of the text
09:46:55                 1   messages, a smattering               of them that we gave you, and
09:46:58                 B   there are a lot more out there,                   I mean, number one,     how

09:4'1     :O2           9   can she reasonably and credibly                 deny that is not her
09:47:06 10                  s   endl ng those messages? That is               just impossible.
09:47:10             11      Number two, how can she deny that there wasnrt                    a

09:47:13             12      cons e ns ua l     relationship       between the two of them
09:4'1     :7':,     13      happening at the time.                  That is what she did at tria1,
09:4'7     :2L 14            she denied it,         never sent the messages, never did.                That
09:.41     :21       1   5   is falsehoods, direct               falsehoods,    Judge, and that is
09:47:30 76                  what    we I re    talking     about as far as admissions i-n this
O9:47:33             11      case.      f know this may not fook right                from a moral point
09:4-1     :31       1B      of view.          That j-s not f or us to decide.           We're talking
09:4'7 : 40          19      about a criminal             offense.      And I think that is something
09    41 :     42    20      that I think is important for the Court, with regard to
09    4-1 z    45 27         the admissions that the government seemed to harp                      oDr

09:4'7     z   49    22      too, Judge.          They also respond to it,            too, Judge, if      I
09:48:22 23                  mdy, that Ms. Krantz Ls always told,                  hey, look, Nick
09:   4B   :30       24      Turnquist raped me. That may be the case, but that                        was

09:48:33 25                  not the case back i-n 2072 when investigators                   confronted
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09: 48   :3?           2   her.     Itrs   not the case       when         her mother, who, by her            own

09:48:41               3   words says, "f believe you.                     TeIl me what happened. rl
09l.48l.44             4   ttNo, mom, Itm lying.t' Tha t                  wasn I t   the case back then.
09:48    z   41        5   I mean, her mother, if             she really believed her back
09:48:52               6   then, had the perfect            opportunity back in 2012 to bring
09:48:55               1   the police      in or bring the CAC in to have her
09:48:58               B   interviewed.       And what did she do? She said everything
09:.49:02              9   was fine down in Florida.                  We    had a great time.
09:49:30 10                                 Judge, you can't               square that with the
09:49:-32          11      evidence.       And then there are other denials that keep
09:49:39           12      happenlng f rom 20t2, 20L3,                t   74 and '15, there are al-1
09:49l.44          1   3   these other opportunities              that Ms. Krantz has to te11
09 49 49 74                guidance counselors,         counselors, police                officers,     anyone
09:50:12 15                else about what has happened to her.                        And she either
09:50:16 t6                doesn't do it      or when she is asked, she denj-es it.
09:50:20 11                Right ?    So   there is no consistency in her neve r
O9z50:24           1B      wavering.       The only time she ever wavered is during the
09:50:28           19      trial    or in the grand jury.                  But as we pointed out in
09:50:31 20                our motion, the problem there is there are multiple
09:50:34 27                inconsistencies       of what she is saying.                   Again, it's     not
09:50:38 22                faulty    memory of    a   child    or bad lawyering by              a

09:50:42 23                prosecutor.       hJe're not dealing with a child                   victim    of
O9:50:45 24                tender years, 6,       1   , B years old where memory issues                   do

O9:50:51 25                come into play or someone who is suffering                        from
               Case Case  21-2563, DocumentDocument
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                    !                           USA VS.   N.   TURNQUIST

09: 50:   5?        2   disassociated     s amnesia, who is not remembering these
09:51:    12        3   events because they are blocking them out.                We're
09:51:    15        4   dealing with somebody who 1s much older as a victim,
09:51:18            5   alleged victim,     and werre dealing with someone             who

09:   51:21         6   should have a better       memory of this     and someone, and,
09:57:.24           1   more on top of that,       who studied,     by her own admission
09:51:46            B   on the stand, who studied a year to get all               these things
09:52:05            9   that happened and get all- these things straiqht,                   and she
O9:52:01        10      stiII    can't get it    straight,     Judge, she stil1       can't.      I
O9:52:71        11      don't think the evidence is strong in this              case.        I
09252:I4        1-2     don't think the dange r is strong in this             case.     I
O9:52     16    1   3   recognize that we have the rebuttable              presumption in
09:52:19        14      this case, but I believe we overcome it.               And I believe
09:52l.23 15            we overcome it     a lot more than I do in a Iot of other
09:52243 75             cases.      And for al-I of those reasons, Mr. Turnquist
09:52:45 71             should be released.
09l.52:41       1B                      MR. BONNANO: Your Honor, can I make one
09:52     49    19      comment 1n response?
09:52:50 20                             MAG]STRATE JUDGE MCCARTHY: Yes.

09:52   :50     2L                      MR. BONNANO: Judge, the indictment              here
09:52:51 22             charges the defendants with transporting              a minor under
09:52:58 23             the age of 18 for the purpose of illegal              sexual
O9:53:    O5    24      activity.      So under the age of 18.        So, 71 years old is
09:53:08 25             a minor for the purpose of this           federal    charge.        The
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09: 53:      11     2   defendant admitted he may have had sex with her when she
09: 53:      14     3   was    71   .   That' s all,    your Honor.
09: 53:      1B     4                      MAGISTRATE JUDGE MCCARTHY:             All right.    Mr.
09:53:20            5   Singer, I agree with you that Ms. Krantz has                     some

09:53:25            6   serious credibility            issues, however, I'm weighing
09:53:32            1   against that both the presumption and the fact that
09:53:36            B   there is this         controlled      call-, March 17th, 2020, in
09:53:47            9   which Mr. Turnquist seems to admit that he had sex with
09:53:50          10    her    when     she was a kid.        I don't know exactly when it
09:53:54          11    was.
O9:53:54          1,2                      THE DEEENDANT: I did not.
09:53:56          13                       MAG]STRATE JUDGE MCCARTHY:             Exactly when it
09:53:56           74   was, f don't know whether the admission refates                     to the
09:54:01 15             transportation         or not.
09:54    :02       16                      THE DEFENDANT:           Your Honor, that never
09:54:05 l7             happened. Tf I can speak up for myself.
09:54:08           1B                      MR. SINGER:        Nick, IeL me speak on your
09:54    :10       19   behalf right         now. AI1 right?
09:54:13 20                                MAGISTRATE JUDGE MCCARTHY:             In any event, I
09:54:15 2I             don't know whether there will                 be a motion to suppress
09:54    :1?       22   that conversation or not, but I 'm going                  on   what's been
09:.54l.21 23           repre s ented to       me.     It   seems    that there   IS   an admission.
O9:54:25 24             WeIl, yourve indicated              that he admitted having sex with
09: 54   :   30    25   her when she was 1B or maybe L1.                  Whether that relates
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09:54:33         2   to the transportation             across state Iines,         I don't   know

09: 54   :38     3   right    now, but I think it's             evidence that is very
09l.54    42     4   troubling     to me. This is a presumption case.                    I find at
09:54:48         5   this    time you have not rebutted the presumpti-on,
09:54:52         6   however, I'l-l- Ieave the door open to a dif f erent bail
09:54:56         7   package that you might propose.                 You've indicated        that
09: 54   :58     B   the f amily is not abl-e to put anything together.                      I   'm
O9:55:02         9   sympathetic to that.              However, I'm not assured without
09:55:06 10          some type of concrete bail             package that Mr. Turnquist
O9:55:11 11          could be released without being either                     a risk of flight
O9:55:16        72   or danger to the community.                He is facing some serious
09:55:19 13          time if he is convicted.              And so I'1I         leave the door
09:55:23        74   open to that,         but, dt this     time, f   'rTr    denying your motion
09:55:2? 15          wi   thout prej udice .       Thank you.
09: 55:   32    L6                   MR. BONNANO: Thank you, Judge.
09:   55:33 I1                       MR. SINGER:          Thank you, Judge.
09:55:41        1B                   Your Honor, can I get            a      breakout with Mr.
09:55:48        19   Turnquist possibly?
                20                    (   Whe   reupon, the Court concluded the
                27   proceedings.     )



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             1

             2

             3

             4                       CERTIFICATE OF REPORTER
             5

             6       I certify   that the foregoing is a correct          transcript
            1    of the record to the best of my ability           of proceedings
            B    transcri-bed from the audio in the above-entitled             matter.
             9

           10    S/ Karen J. C1ark,     RPR

O9:55:49   11    Official   Court Reporter
           72

           13

           1,4


           15

           76

           11

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78:36:25     1                      UNITED STATES DISTR]CT         COURT

             2                       VIESTERN D] STRICT OF NEW YORK

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             5                                         x
                 UNITED STATES OF AMERICA              )      21CR15
             6                                         )
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             1                                                  Buffalo, New York
                 NICHOLAS    TURNQUIST,                         September TJ, 2079
             d                                                      11: oo a 'm'
                                       :":":o:":'_     x
             9   BAIL HEARING
                 Transcribed from an audio recording
            10   AJ-J. parties appeared via AT&T telephone conference
            11                     TRANSCRIPT OF PROCEED]NGS
                           BEFORE THE HONORABLE JEREMIAH J. MCCARTHY
            72                   UNITED STATES MAGISTRATE JUDGE
            13

            l4                         JAMES   P. KENNEDY, JR., ESQ.
                                       United States Attorney
            15                         BY: PAUL BONNANO, ESQ.
                                       Assistant Unit.ed States Attorney
            76                         13 9 De l- awa re Avenue
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            71

            1B                         ROBERT CHARLES SINGER, ESQ.
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                                       Williamsville, New York 74221
            20
                                       A. McCray,    USPO
            27

            22

            23

            24   COURT REPOREER:       Karen .7. Clark, Of f icial. Court Reporter
                                       Karenclarkl0 13eAOL . com
            ZJ                         100 State Street
                                       Rochester, New York L46L4
           Case Case  21-2563, DocumentDocument
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78:36:25     1                      UNITED STATES DISTR]CT         COURT

             2                       VIESTERN D] STRICT OF NEW YORK

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             5                                         x
                 UNITED STATES OF AMERICA              )      21CR15
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             1                                                  Buffalo, New York
                 NICHOLAS    TURNQUIST,                         September TJ, 2079
             d                                                      11: oo a 'm'
                                       :":":o:":'_     x
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            76                         13 9 De l- awa re Avenue
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                                       Williamsville, New York 74221
            20
                                       A. McCray,    USPO
            27

            22

            23

            24   COURT REPOREER:       Karen .7. Clark, Of f icial. Court Reporter
                                       Karenclarkl0 13eAOL . com
            ZJ                         100 State Street
                                       Rochester, New York L46L4
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I




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                         2
                                             PROCEEDING
                         3                   ***
                         4


    12:43       15       5

    t2:43l.tB            6

    78 :   36:2'7        1                   MAGI STRATE JUDGE          MCCARTHY: A11 right.
    78 : 36   :2'1       B   Could everyone on the Iine please identify                   themselves?
    18   :36:   31       9                   MR.    BONNANO:         Good morni.g,     your Honor.
    18   :36:   32   1   0   Paul Bonnano from the          U.   S    Attorney I s Office.
    18   :36:34      11                      MAGISTRATE JUDGE MCCARTHY:                Okay.

    18:36:35         12                      MR. SINGER: Good morning, Judge.                   Robe   rt
    18:36:36 13              S   inge r on behalf    of Mr. Turnquist.
    18:36:39         74                      THE DEFENDANT: Morning.                 This is Mr.
    18   :36:41      1   5   Turnquist.
    tB;36 42 16                              MAGISTRATE JUDGE MCCARTHY:                Mr. Turnquist,
    18   :36:43      71      good morni-ng.
    18   :36:44      1B                      THE DEFENDANT: Good morning, your Honor.
    18   :35:47       19                     MAGISTRATE JUDGE MCCARTHY: And                  do we have
    18:36:48 20              Mr. Turnquist's        wife and mother on the Iine yet?
    18:36:58 2I              Anybody know?
    18:36:58 22                              DEFENDANT'S MOTHER:             Yes, we are both here.
    18:3?:      05    23                     MAGTSTRATE JUDGE MCCARTHY: Good morni-ng.

    18:3?:05 24              You want to call- the case, Eric?
    18:3?:08 25                              THE CLERK: We are on the record in criminal
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a




                     1                            USA   VS. N.   TURNQUIST

    1B:37:10         a    proceeding 21CR15, United States versus Nicholas
    18:37:16         3    Turnquj-st for a bail      hearing.      Present by AT&T telephone
    lB : 3'1 :21     4    conference, AUSA Paul Bonanno; Defendant Turnquist with
    78'.3'7 :26      tr
                     J    attorney Robert Singer;         USPO   Andre McCray.      The

    18:37:34         6    Honorabl-e Jeremiah J. McCarthy presiding.
    1B:37:34         1                   MAGISTRATE JUDGE MCCARTHY: Good morning,
    1B:37:35         B    everyone, again.        And first    my apologies to everyone.
    18:37:39         9    ftrs   not the Eric's     fault,    but somehow we need to get to
    18:37:45 10           the bottom of why I am unable to hear anybody.
    18:3?:48 11           Apparently you could hear me on the video hook up, but
    18:37:52        L2    that is a question for another day.
    18:3?:54 13                          In any event, do we aII agree to proceed by
    18:37:57 74           telephone conference this morning?
    18:3?:59 15                          MR. BONNANO: Government agrees, your Honor.
    18   :38:02     16                   MR. SINGER: And Mr. Turnquist             agrees.
    18:38:05 L]                          MAGISTRATE JUDGE MCCARTHY:             Okay. Thank
    18:38:05        1B    you.    I have reviewed Mr. Turnquist's             second motion for
    18:38:12        19    release from custody, which is docket number 30.                     The

    18:38:16 20           government has filed       an opposition,         which is docket      No.

    18:38:20 2!           35, and Mr. Singer has filed           a repIy,     which is docket
    18   :38:25    22     No. 36.     I have reviewed aII of those documents.                  I'11-
    18:38:30 23           hear from counsel with that in mind.
    18:38:34 24                          Mr. Singer, it's        your motion, so I guess you
    18:38:3? 25           go first.
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                       1                                   USA   VS. N.   TURNQUIST

18:38:39               2                          MR. SINGER: Thank You, your Honor.                I    know

18:38:40               3   you    I   ve read all        of the papers.      I 'm not going to bel-abor
18:38:44               4   the points in the papers, and I think,                     generally
18:38:47               5   speaking, it's               obvious that I am not going to be abl-e to
18:38:50               6   convince Mr. Bonnano at this                   stage that the evidence is
18:38:53               1   not very strong in his case, and he is not going to,
18:38:56               B   Iikewise,           be able to convince me at this           stage that the
18:38:59               9   evidence is very strong or not as strong as I believe in
18   :39:03        10      my case.            But at the end of the duy, that is something
18   :39:06        11      that wil-I be resolved at trial                  before Judge Sinatra.             As

18   :39:09        12      you know,           we I   re here today to discuss the bail           situation
tBl.39l.12 13              and the weight of the evidence against the person is but
18 :   39:   15    14      one of several factors                 to consider regarding bail            in
18   :39:    18    1   5   this        case.      We've gone through a Iot of those factors.
18   :39:23        1,6     And what I gathered from the last bail                     heari.g,     which
18   :39:28        1,1     you denied my motion without preiudice                     and allowed me to
18:39:33           1B      represent a different                 bail package, is that financial-
18:39:31           19      considerations               was something, perhaps, that        was

18 :   39:39 20            important to the Court.                  And so since our heari.g,            as I
tB ;39;      42    21-     put out in my papers, I had conversations with my cl-ient
18:39:46 22                and his family about ways that potentially                     we could open
18 :   39:   50 23         up opportunities               to help alleviate     some of the concerns
18:39:53 24                of the government or perhaps the Court regarding Mr.
18: 39:      5? 25         Turnquist and his risk of flight.                    As I put out in          my
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1-B   :   40l.02    2   papers, Mr. Turnquist doesn't come from any means, but,
18:40:07            3   you know, his mother has graciously                          agreed to put up
lBl.40:12           4   equity she has in her house to secure his release.                                 She

18:40:16            5   and I discussed, you know, what is available                             because,     as

18    :40   :20     6   you know, Genesee County has put in bail                          conditions
18:40:23            1   regarding monetary amounts, and one of those conditions
1,8:40l.2'1         B   is $30,000 of an surety and she planned to put forward
18:40:33            9   equity in her house to secure bond in Genesee County.
18    :40:31       10   There j-s also the outstanding Erie County matter. I                                 was

18:40:40 11             down in front          of Judge Hennigens (phonetic)                 to brief        her
18:40:44           12   as to what the status of the federal                         case was.       She

l-8l.40:41 13           ended up delaying her bail                      hearing     on Wednesday     for two
18:40:53 \4             reasons.        One is Mr. Turnquist                 was not present and there
18:40:56           15   was no way to join             him electronically             or virtually
18:41:00 16             because New York State doesn't aflow thatr                          so she     was

lBl-47:02 77            uncomfo rt ab I e proceeding without                   his presence as he has
18:41:05           1B   a right    to    be    there.        So she ordered his production,                  and
18:41:      09 19       that is going to occur next Wednesday at 2230, but, you
18:47:72 20             know, I also updated her regarding the status of this
18:41:15           2L   CASC AS    we11.        And I don't know what Erie County Court
18:41:18 22             may or may not do re            ga   rdi   ng    financial    conditions,      but,
18 4722t 23             as you know,          New    York State bail            is something that is
1B:41:24 24             required for release.                 ft's       a IittIe    different     than
78 41:29 25             Federal Court.              But, I think the $50, 000 surety interest
                Case Case  21-2563, DocumentDocument
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18:41:33              2   that Patty Turnquist put up in her house, I think,                      is
LB 42:.L6             3   important and may al1ay the Court's concerns regarding
LBz42:22              4   risk    of flight    that is raised by the government or
78 42 24              5   perhaps the Court has reservations              about.     I know that
18   :   42:2-1       6   the government responded that is not enough because Mr.
lB:42237              1   Turnquist could just          turn on his mother and leave.
18:42:35              B   RespectfuIIy,       Judge, that is not the relationship             that
1B z     42:3'1       9   they have.       And, you know, it's        not f think $50,000          an

t8:42:,43 10              insignificant       amount. V[hen you put it          together,    whether
tB 42:48          11      he Ieaves and fl-ees federal           jurisdiction      or Ieaves and
IB 42:52          1,2     flees state jurisdiction          or Ieaves and flees aIl three,
lB:42l-56         1   3   the result      is the same in Ms. Turnquist is going to lose
18:42:59          74      the equity in her house.          And that is not something,
18:43:     03     15      based on the understanding that I have in                my

lB:43: O6 16              investigation       of this   case, fry cl-ient is willing         to    do

18:43:     O9     11      because he has a good positive            relationship        with his
l-8:43l.12        1B      mother.      I think the other thing that I put forward in
18:43:14 79               some of my papers and in reply this              morning I said is
18:43:18 20               there anything you can do, Mr. Turnquist,                 regarding your
18   :   43l.2L   21,     own financial-      resources.    And I recognize that you don't
lB :     43l.24 22        have a home and f recognize that you have a lot of legal
L8:43:26 23               bills    to pay.     And f recognize that you have a Iot of
18   :43:30       24      legal bills      to pay in the future        as weII.      He had   some

18:43:33 25               hard conversations with his wife and they have some cash
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18:43:39               2   available.       Some of it      is still      incoming at this          point,
LB 43:42               3   but he said, vou know, "If            I need to put $5,000 cash                    up

18:43:45               4   to the clerkrs      office      to help assure the Judge f 'm going
lB:43:48               5   to show up f or tria1,          then f ' l-1 do that,         even if    it
18:43:51               6   takes away money f rom my f amiJ-y and my potential                      legal
18:43:55               1   defense.      But, you know, I want to show everyone that
18:43:58               B   f'm willing      to go ahead and do that."               I think that is
18:44:01               9   an important step.            You know, there might be more that
18:44:04 10                could become available,           but, I mean, at this point,                  what
18:44    :   08    11      f understand the couple is able to do.                    So, Judge, vou
78:44:12           L2      know/ when you take a look at this                case again and you
l.B:.   44:76      1   3   focus on Mr. Turnqulstrs           history      and these conditions,
lB:44    z2O 74            you know, again, this           is an individual         who does not have
L8:44 24           1   5   a criminal     record.        This is an individual           who has served
78 44:21 16                the community in various ways.                 This is an individual
1B:44:31           11      who has been gainfulJ-y employed.                This is an indlvidual
18      44:34      1B      who has ties     to the community through both marriage,
18:44    :38       19      children,     job, family and otherwise.                This is     an

18:44    :43 20            individual     who does not have an afcohol or drug abuse
18:44        41   27       problem.      This is    an    individual      who has not failed             to
18:44:51 22                show up or cooperate with the police                i-n thi     s

1B:44    :54 23            investigation.       This is an individual              who    doesn't have             a

18:44    :5?      24       track record of committing offenses while in custody.
18:45:03 25                And, you know, in every case that you see/ when one of
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18 :   45:06     2   those things is absent, that is usually what the Court
18:45:10         3   reli-es on as    a   reason to keep someone in custody.
18:45:15         4   Because people with drug problems or alcohol problems
18:45:18         5   are more prone to break their             condltions       of release.
1B:45:21         6   People who have history           of criminal     activity      are prone
18:45:26         1   to engage in that type of activity,               aga   in, even when         on

18:45:30         B   conditions     of release.        PeopIe   who   don' t,     you know, play
18:45:33         9   by the rules in jail         or play by the rules of society are
IB:45:3?       10    more apt to abscond and not play by the rul-es that you
18   :45:41    11    set as conditions.         And    that is not present here.                And

18:45:44       12    that is important for purposes of the BaiI Reform Act
18:45:4? 13          because when those things are not present,                    the BaiI
18   :45:50    14    Reform Actr dS you know, indicates               that you should look
18:45:54 15          at the l-east restrictive          conditions     available      to ensure,
18:45:57 76          not just     safety of the community, but Mr. Turnquist's
18:45:01 t]          appearance at trial.           And then if we put forward              a

18:46:05       1B    different    bail    package here that helps al-l-ay some of
18:46:08 L9          those concerns.        I recognize that the government stiII
18:46:11 20          has reservations       about release because they believe Mr.
tB;46214 2t          Turnquist poses a danger to the community as well as the
18:46:17 22          alleged victim       in this     case.    And, again, I go back to
1,8:46;20 23         the fact that there is one alleged victim                    in this       case,
78;46    23    24    not multiple.        This is a family connection, not              a

t8 46:29        25   stranger connection.           So even if    you were to believe the
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78:46:,32           2    validity     of    some    of the allegations        in the case, it
18 :   4   6:34     3    doesn't indicate           that if    you release Mr. Turnquist         on

18 :   46:39        4    some conditions,           he is either       going to have access to
78l.462     42      5    the alleged victim           to do her harm or access to other
18:46:46            6    people to do them harm.               I realize    one of the things         we

18:46:51            1    argued for Iast time and we continue to do so today is
78:.46:54           B    that Mr. Turnquist           should have the opportunity           to Ieave
18:46:51            9    his home to work because that is something that is
18:46:59 10              important to help support himsel-f, his family and his
78:,4'l     :02    11    legaI defense.            But I talked to Mr. Turnquist,           but if
18:47:05 72              it's   a choice between getting               out of jail     and staying in
lB:4-l:09 13             jail     is not having the ability             to work because he is         on

18:4?:13           14    home detention        or figuring       out a different        option to
78:4'1      z11 15       work virtually        because that is the only option
18l.4't     :20 76       available,        then he wants to be home. He wants to be
L8l'   4l   :22    7'7   home with his wife.               He wants to be home with his
18:4'7      :25    1B    famiJ-y.     He wants to be home so he can prepare his
78:.4'1     :28    19    defense in this           case.     And if    he cannot work or have to
18:4?:31 20              figure     out another way to do work, that is something                     he

78:4'1      :34 27       is willing        to do.
18:47:36 22                                 So for aIl of the reasons I stated,              I
18:47:38 23              believe the factors           on    balance weigh in favor of
lBt4'1      :41 24       rel-ease.     That is       why    the Probation Department came to
78:,4'1     :44 25       that conclusion.            That is why they re       comme   nded release
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78:      4'1   :.46        2   j-n this   case.    And that is why the Court should
78:41          :49         3   recommend release in this              case as weII.
lB       41    :52         4                  MAGISTRATE JUDGE MCCARTHY:                A11 right.
IB:.4':-       :52         5   Thank you, Mr. Singer.
78 41 54                   6                  Mr. Bonanno?
18:47:55                   1                  MR. BONNANO: Thank you, Judge.                    Good

78   :   4'1   :56         B   morning, again.       I think that what Mr. Singer's                argument
18:47          :59         9   does not really      address, and this           is the primary point
18:48:04 10                    to my papers, Judge, there is a statutory                     presumption
18:48:01 11                    here for detention.           There is a statutory            presumption
18:48:10               12      here that the defendant does present a danger to the
18:48:13 13                    community. And that dangerousness is not allayed by any
18   :48       :20     14      bail- application     or bail package.            There is compelling
18:48:21               1   5   evidence, and I laid          it     out at Iength,    Judge, in        my

L8       48:29         L6      papers.     f know itrs       an over two-page excerpt from that
18:48:34               71      controll-ed ca11, but I think it's               important for the
18:48:38               1B      Court to read the whole controlled                caII transcript            that
18:48:43               19      I put forth    in the papers and it becomes quite cfear
18:48:46 20                    that this defendant, when confronted by the victim                           in
18:48:49 2l                    that controlled      cal-l-   r dcknowledged and expressed remorse
18:48:53 22                    for having sex with her, frankly,                when she was a kid,
18:48:5? 23                    when she was young.           He is facing a mandatory minimum of
78:.49l.02 24                  10 years in prison if              convicted,   possibility      of up to
18:49:08 25                    Iife,   he is facing state prison in Erie County and
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18:49:11              2   Genesee County.      And, as I pointed out in my papers, the
18:49:14              3   victim   was threatened by this defendant.           She testified
lB 49l.20             4   to that in Wyoming County, she was physically              assaulted
78:.49     224        5   by this defendant.      And, most importantly,         she   was

78l.49     226        6   sexual-.Iy abused by this defendant over a course of
18:49:31              1   years, so it    wasn't a one-time incident,         but over       a

18:49:35              B   course of years while she was in his care as his
18:49:38              9   stepdaughter.      So the statutory       presumption of
78:49:42          1   0   dangerousness that exists here is well founded and this
18:49:45          11      defendant presents a substantial           danger to the community
18:49:48          72      that this bail     application   does not alleviate        and it
18:49:54 13               does not overcome the presumption for detention.
18:50:02          14                     MAGISTRATE JUDGE MCCARTHY:          AlI right.
18:50:02 15               Thank you.      Excuse me. Mr. Singer, we11, I address this
18:50:10 16               to both of you, you both, l take it,           have recej-ved and
18   :50:   13 f1         reviewed the Pretrial       Services Report dated September
18:50:11          1B      2nd, correct?
18:50:20          19                     MR. BONNANO: Yes, Judge.
18   :50:20       20                     MR. SINGER: Yes, your Honor.
78:50:22 27                              MAGISTRATE JUDGE MCCARTHY:          AIl right.           Mr.
18   :50   :23    22      Singer, the page six of that report Iists            a series of
1B:50:28 23               recommended conditions,       including     home detention.            Are
18   :50:32       24      you in agreement with all        of those conditions?
18:50:36 25                               MR. SINGER: Judger dS I expressed earlier,
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18:50:39             2   the onl-y thing that we had asked and differed              from the
18:50:44             3   Probation Department, we asked that the detention
18:50:47             4   condi t i on be applied because he needs to work.               But,    as

18:50:53             5   we indicated      this morning, if      that condition     is   ne eded

18:50:55             6   to get his refease, then we would adopt that condition.
18:50:59             1                    MAGISTRATE JUDGE MCCARTHY: My           understanding
18:50:59             B   is that home detention,       and, Mr. McCray, you can correct
18:51:0?             9   me if      I'm wrong, is different      than home incarceration.
lB   :51:09    10        Home incarceration       would prohibit     him from working, but
18:51:12 11              home detention      would not.       Is that correct,     Mr. McCray?
18:51:15       72                         PROBATION: That is correct,           Judge.
18:51:1B 13                               MAGISTRATE JUDGE MCCARTHY:           I would Iike to
18:51:19 14              speak, if      I may, Mr. Singer, with his mother.
18:51:25 15                               MR. SINGER: Yes, Judge.            She is on and I
lB : 57 :2'1    1-   6   wiIl    allow her to unmute herself.
18:51:31 71                               MRS. TURNQUIST: HelIo,       yes, your Honor.
18:51:33        1B                        MAGISTRATE JUDGE MCCARTHY: Good morning

18   :51:33     19       ma I am.

18:51:34 20                               MRS. TURNQUIST: Good morning.
18:51:35 2l                               MAGI STRATE JUDGE MCCARTHY     :     Woul-d you state
1B:51:36 22              your name, please?
18   :51:31 23                            MRS. TURNQUIST: Patricia           A. Turnquist.
18:51:43 24                               MAGISTRATE JUDGE MCCARTHY: Thank           you.       Now,

18:51:44 25              I believe that yourre aware that your sonrs attorney
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18:51:41              a   you are the defendantrs mother, correct?
18:51:50              3                       MRS. TURNQUIST: I certai-nly            am.

18:51:53              4                       MAGISTRATE JUDGE MCCARTHY:            And I believe
18:51:54              5   you   I   re aware that your son ' s attorney has proposed as                    a

18:51:58              6   condi-ti-on of his release that you post your home, the
1Q   . q' .   n,4     1   equity in your home to the extent of $50,000.                         Is that
18:52:08              B   correct?
1B:52:09              9                       MRS. TURNQUIST: That's            correct,     sir.
18:52:11 10                                   MAGISTRATE JUDGE MCCARTHY:            Are you willing
78:52:12             11   to do so,        maram?

78    52:74          72                       MRS. TURNQUIST: Yes, I certainly                am. I
18:52:1? 13               signed papers for that already.
18:52:18 74                                   MAGISTRATE JUDGE MCCARTHY:             I want you to
18:52:19 15               understand that you do not have to do so.                        This is
18    52:22          L6   entirely         up to your but it       is a significant         risk    that
18:52:21             11   you would be undertaking because if                   your son violates
18   :52   :30       1B   any of the conditions               of his release,      then not only
L8:52l-34 79              would his release be revoked, but you would stand to
18:52:37 20               l-ose your equity in your home up to $50, 000, so that is
L8:52:41 2t               a significant         risk.       Do you understand thatr          fld'am?
lB:52:45             22                       MRS. TURNQUIST: I certainly             do, sir.
78:52         4'1    23                       MAGISTRATE JUDGE MCCARTHY: ANd

18:52:48 24               notwithstandinq           that,     you are willing      to do so.        Is that
18:52:51 25               correct      ?
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18:52:51              2                       MRS. TURNQUIST: That is correct.
18:52:54              3                       MAGISTRATE JUDGE MCCARTHY:          AIl right.
18:52:54              4   Thank you.          Counsel, I did deny the previous request for
18:53:02              5   bail.     I expressed some concerns about the evidence in
lB:53:06              6   this    case.       I stitl     have those concerns.         I recognize
18:53:10              1   that there may be some credibility                issues with respect
18:53:16              B   to the victim,          but there are also recorded conversations
L8;53;24              9   and f know the government is relying                 heavily     on those.
18:53:27 10               It's    not up to me to make a determination                 of the
18:53:31 11               defendant I s guilt           or innocence.      I find that under the
18   :53:35       L2      circumstances, the posting of $50,000 secured by his
18:53:44 13               mother's home would reasonably assure me that if
lB:53:41 74               released, he woufd not pose a risk of fliqht                     or danger
18   :53:   51    1   5   to the community.              I think that is a significant          bail
18:53:55 16               package, which is different             from the package that            was

18:53:59 l'7              proposed on the previous motion.                  I appreciate the fact
18:54:04          1B      that Mr. Singer has al-so offered an additional                    $5,000 to
18:54:10 79               be posted by the defendant and his wife.                     However, under
18:54:15 20               the Bail Reform Act, f 'm going to impose the least
1B:54:20 27               restrictive         set of conditions.        I find that the $50,000
lB:54   z2'1 22           is adequate and that the additional                 $5,000 is not
18:54   :33       23      required.       In addition,        obviously,     he wiII     have to
18:54:38 24               satisfy     the requi rement s of any other court for his
18:54:43 25               release,      any    state court which imposes conditions.                   He
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18:54:47           2   will   have to abide by all             of the conditions           set forth      at
78:54:52           3   page six of the Pretrial               Services Report.
18:54   :56        4                    Mr. Singer, do you wish me to review those
18:54   :58        5   with him    on    the record?
18:55:01           6                    MR.   STNGER:         I think    I can expl-ain those to
18   :55:02        1   him, Judge.        I know Mr. Turnquist has a copy of the bail
18   :55:06        B   report,    so    unless you feel a need to place them on the
18:55:10           9   record.
18:55:10 10                              MAGTSTRATE JUDGE MCCARTHY:                   We11, just    so

18   :55:   11    11   that he and his mother both understand the conditions                              of
18:55:14          L2   release,    I think I'm going to summarLZe them again
18:55:18 13                              MR. SINGER:          YES,    your Honor
18   :55:18       74                     MAGISTRATE JUDGE MCCARTHY: ANd                    let me sdy,
18:55:20 15            aIso, that the release wiII                  not be effective        until   the
18   :55:27       76   government is satisfied            as to the sufficiency              of equity
18:55:32          71   in his motherrs        home.      So you two can work out the
18:55:37          1B   details    of that.         The condi t i ons     of release in addition
18:55:42          19   to the posting of $50,000 security                   by his mother will            be

18   :55:47       20   that he report to pretrial               services within           24 hours of
18:55:51 27            his rel-ease and       as    directed        thereafter        by the probation
18   :55:54       22   office.     That he surrender any passport or passport card
18   :55:   58    23   to the Clerk of the Court.                   And that     he    surrender any
18 :   56:02      24   other international           travel     documents to appropriate
18:56:05 25            authorities.        That he not obtain a             new       passport or other
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18 :   56:09       2    i-nternational      travel     documents. That his travel             will    be

lB:56:13           3    restricted     to the Western Dlstrict           of New York unfess
18:56:15           4    the Court grants permission to travel                  elsewhere.      That
18:56:19           5    he avoid a1I contact,           directly     or indirectly,        with any
18:56:23           6    persons who are or may become a potential                  vlctim     or
78:56:2't          1    witness in this       case.      That he possess no fi-rearm or
18:56:31           B    destructive       device.      That he abide by the conditions               of
18   :56:35        9    the electronic       monitoring program to be monitored
18:56:40 10             electronically,       that is,     with home detention,            which will
18   :56:44       11    aIIow him to leave the home for purposes of meetings
18:56:48          1,2   with his attorney,           medical treatment and/or work, but,
18:56:51 13             otherwise,     he should be at the home and he'I1 contribute
18 :   56:   57 14      to the monitoring program and as directed                  by pretrial
18:51:00 15             services.      That he refrain        from obstructing        or
18:57:01 76             attempting to obstruct           in any fashion with electronic
18:57:08          7'1   monitoring.        That he is prohibited          from possessing any
18:57:13          1B    type of pornography, not just child pornography.                       That
18:57:16 19             he will     participate       in the computer and internet
18   :51   :2a    20    monitoring program by the probation office.                    He musL
lB :51     :23    21-   provide that office           with advance notificatj-on           of any
18   :51   221 22       computer or connected device to which he has access.
18:57:30 23             And that office       may monitor al1 such equipment.                 He will
18:57:34 24             part i cipate in mental health intervention                specifically
18:57:37 25             designed for defendants charged with sexual offenses.
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78   ;5't   ;42      2   He wiII    comply with the mandates of that treatment
18:57:45             3   program and not leave such treatment until                 discharge is
18:57:48             4   agreed to by the probation office             and the treating
18:57:51             5   agency.     He will    not have contact with any child                 under
18:57:55             6   the age of 1B without the dj-rect supervision                of    a

18:57:59.            1   responsible aduIt.         If he has inadvertent        contact
18:58:04             B   unsupervised with a child under the age of 18, he will
18:58:0?             9   immediately report that to the probatlon office.                        And,

18:58:10 10              finally,    he will    report within      12 hours to the pretrial
18   :58    :14 11       services office any contact which he has with law
18:58:18           72    enforcement personnel, j-ncluding, but not Iimited to any
18:58:21 13              arrest,    questioning     or traffic     stop.
18 : 58     :24    14                    Mr. Turnquist,      do you understand all              of
LB :. 58    :.21   15    those conditions,        sir?
18:58:28 L6                              THE DEEENDANT: Yes, I do, Your Honor.
18:58:30            11                   MAGISTRATE JUDGE MCCARTHY:            And do      you"

18:58:31            1B   understand that if        you violate     any of those conditions,
18:58       :34     19   not only may your release be revoked, but your mother
18:58:31 20              wiIl   be at risk     for losing $50,000 and her home? Do you
18l.58l-42 27            understand that?
18:58:42 22                              THE DEFENDANT: Yes, I do, Your Honor.
18:58:44 23                              MAGISTRATE JUDGE MCCARTHY:            And you assure
18:58:45 24              me that wiII      not happen?
18:58:41 25                              THE DEFENDANT: Absolutely           not.     I'm
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18:58:49           2   committed to going to court to prove they did not
18:58:52           3   happen, your Honor.
18:58:53           4                   MAGI STRATE JUDGE MCCARTHY:            All- right.       I
18:58:54           5   ask, agaln, of his mother, maram, yourve heard aII of
18:58:51           6   these conditions,       are you still      willing     to execute the
18   :59:00        1   bond pledging your home to the extent of $5o, ooo?
18 :   59:06       B                   MRS. TURNQUIST: Yes, I am, your Honor.
18   :59:08        9                   MAGISTRATE JUDGE MCCARTHY:             Okay. Mr.
18:59:10          10   Bonanno, I think you wanted to                   I guess, Mr. Singer,
18   :59:   1l    11   you had indicated       there is a couple of other courts               who

18:59:20          72   first    have to give their       approval before he would be
18     59;24      13   released in any event, is that correct?
18:59:2'1 \4                           MR. SINGER: So, Judge, the Genesee County
lB:59 29          15   court has already issued their            bail     order and that is
18 :   59:33      16   something as well as defense counsel advised Mr.
18:59:36 L]            Turnquist not to post on until            we resolved what       was

LB:59:42          1B   happening in the three courts that was left.                   So if     he

18:59:44 19            posts in Genesee County at any time and satisfies                     that
18:59:48 20            bail    condition,    Erie County wetre having a hearing at
18 :   59:52      27   2:30 on Wednesday afternoon next week where Judge
18:59:51 22            Hennigens will       make a decision      about bail     in Erie
19:00:00 23            County.     I think if     she grants bail,         then what we were
19: 0O: 03 24          prepared to advise Mr. Turnquist             is that he go ahead and
19:OO:01 25            post in those two counties.             Since in the federal           case
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19:00:10            2    he is not posting anything other than the property, it
19:   00:14         3    doesn't involve money, I think what f'm going to do is I
19: 00:   18        4    wiII        coordinate with Mr. Bonanno to send the informati-on
19:00:21            5    that I filed           under seal- to the asset forfeiture
19:   00:25         6    divi    s   i on, who f normalfy work with on these types of
19:00:28            '7
                         things,        so   they can be satisfied              with the condition          and

19:00:31            B    teIl        them don't    post    a   nythi   ng    in the records yet until             I
19:   O0:35         9    advi    se    you otherwise,          but j ust make sure that           we t re

19:00:38        10       ready to go on that.                  That is what Irm prepared to do at
19:00:41        11       this point
19 OOl.42 72                                   MR. BONNANO: Judge
19l.00242 13                                   MAGISTRATE JUDGE MCCARTHY: Go                 ahead, PauI.
19:OO:43 14                                    MR. BONNANO: Thank Vou, Judge.                     I was going
19:00   :45     1   5    to ask for a brief            stay so I can consult with my office
19:   O0:48     1-6      about the possibility                 of an appeal.          If we can have         a

19:   OO:52 71           stay, Judge, through Wednesday, dt least,                          since he is in
19:00:57        1B       custody on the Erie County matter until                         then, that is
19:   01:00     19       what I would ask for.
19:01:02 20                                    MAGISTRATE JUDGE MCCARTHY:                Yeah, that's
19:01:    02    2L       fine.         I mean, dS a practical                matter      wel-I, I'l-f       feave
19:01:    O?    22       it     to the two of you as to when you exchange the
19:01:11 23              financial           information       relative       to his mother I s property,
19:   01:15     24       but, again, the government has to                       be   satisfied     that the
19:01:18 25              home,        in facL, does have unencumbered $50,000 in equity
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L9l   07l.24         2   value.      So, in any event, I will         stay    my   order until         the
19:01:33             3   Iater    of either    5 p. m. on Viednesday, next Wednesday, or
\9:Ol:42             4   the government being satisfied             as to the value of the
19: 01:   46         5   property reasonably satisfied,             obviously.       Okay.       Does

19:   01:51          6   that work for everybody?
19: 01:   54         7                   MR. BONNANO: That works for the government,
19:01:55             B   your Honor.      Thank you.
19:   01:56          9                   MR. SINGER: And that works for the                 de   fens e .
19:01:58         10      Judge, I had one question regarding a condition                    that I
19:02:00         1l-     wanted to clarify         with the Court, tf I could.
19:02     :03    72                      MAGISTRATE JUDGE MCCARTHY: YCS.

19:02:04         1   3                   MR. SINGER: So, one of the conditions                    was

79:O2:O6 l4              that you        that he have no contact with anyone under
19:02     :09    1   5   the age of 18.
19 : 02   :1-2 l6                        MAGI STRATE JUDGE        MCCARTHY: YCS.
79:02l.72 11                             MR.   S   INGER:   Mr. Turnquist has children
L9:a2:T4         1B      under the age of 18,          so   as Iong as somebody who is            an

L9 02l-19        19      adul-t is on the line         on   a phone caII or r you know,
L9:   02:23      20      virtually     or in person, that would satisfy              that
L9:.02l.21 2l            condi-tion.
79:02t2B 22                              MAGI STRATE JUDGE        MCCARTHY: Yes.
79:02     28     23                      MR. SINGER :        I guess one question r did
19:02:29 24              have, you also put in a condition             that he not have any
19:   02:33 25           contact with any witness or potential-               witness in this
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19:02:35            2   case, and I think his children              potentially      may be        a

10. nr. ?o          3   witness in the case.          I don't want him to violate                  a

t9|02|43            4   condition   if he speaks to one of them.
19:.02:41           5                 MAGI STRATE JUDGE MCCARTHY:                 WeIl, I'm not
!9:02:41            6   golng to prevent him from having contact with his
19:02:50            1   children,   but I wiII       direct     that he not have any
19: 02 :55          B   communications with them regarding any aspect of this
19: 02 :58          9   case unless         unless it's        in conjunction       with you and
19:03:03 10             the preparation      of his defense, okay?
19:03:06        11                    MR.    SINGER:      Understand, Judge.
19:03:07        12                    MR.    BONNANO:         Judge, I would just point out
19:    O3:09    1   3   there is a child,      and I referenced this              child     in   my

19:03:12        74      papers, who is      a ve   ry significant      witness in this case.
19:03:17 15             T don't think it would be appropriate                for the        de   fendant
19:03:20 16             to be having contact with her.               And my   understanding is
                                                                                                 And I   rm
L9l.   03l-26   1-1     that child does not reside with the defendant.
19:    03:31    1B      very concerned about contact with that witness.
19:03:38 19                           MAGISTRATE JUDGE MCCARTHY: ROb.

19:    03:39    20                    THE DEFENDANT: WCII
l9: O3:40       2t                    MAGISTRATE JUDGE MCCARTHY: Rob                      Singer, can
19:03:41 22             you answer that?
19:03:41 23                           MR. SINGER: I think that may have been one
19:03:   43     24      of the people t.hat. I potentially            was talking          about.        You

19:03:45 25             know, I recognize that she may be a witness in the case,
                    Case Case  21-2563, DocumentDocument
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19: 03:50                2   f recognlze that she is also a child                    of   Mr    Turnquist,
19:03:54                 3   and, sor r mean, that           was      part of my concern of raising
19:03:59                 4   this,   Judge, is I want        e   d   to get clarification         of whether
79:04t02                 5   or not he is permitted to spea k with her.
19:04 :05                6                     THE DEEENDANT:               There is actual- Iy a court
19:04 :07                1   order through Family Court that I'm allowed to.
19:   O4 : 10            B                     MAGISTRATE JUDGE MCCARTHY:                 WCII, thiS iS
19:04      : 11          9   Federal Court, sir.
19:04      :13       1   0                     THE DEFENDANT: So I'm letting                   the Court
19:04      :14       11      know, your Honor, that's                alI.
19:04:16             1,2                       MAGISTRATE JUDGE MCCARTHY: Okay.

19:04:17 13                                    MR. BONNANO: Judge, I summarized her
19:04t27 l4                  testimony in my papers that I filed                    yesterday and last
19    04   t28       1   5   week.
79: 04         28    L6                        MAGISTRATE JUDGE MCCARTHY:                  Paul, f'm trying
79:04:29             71      to puII up your submission again.                     Can you point       me

l9:04      :35       1B                        MR. BONNANO: In the submission from
19:04      :31       79      yesterday.
19: 04     :   4O    20                        MAGISTRATE JUDGE MCCARTHY:                  What page?
19:04:41             21,                       MR. BONNANO: I referenced her testimony on
79    04:44          22      page five at the top.
19:04:48 23                                    MAG]STRATE JUDGE MCCARTHY:                  No, f'm looking
19:04:4B 24                  at page five.          Okay. Wait a second.                 Oh, that is
19:04:59 25                  referred     to   as   minor two?
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19:05:Ol            2                    MR. BONNANO: Yes.
19:05:09            3                    MAG]STRATE JUDGE MCCARTHY: ShC          does not
19:05:09            4   reside with him currently,           right?
19: 05: 12          5                    MR. BONNANO: f do not bel-ieve sor Judge.
19:05:14            6                    MR. SINGER: No, Judge, she does not.
19:05:16            1                    MAGISTRATE JUDGE MCCARTHY:         A11 right.      For
19: 05: 1?          B   now, I   tm   going to direct      that he not have any contact
19:05:21            9   with her unless             we1I, that he not have any contact
19:05:25 10             with her.       But f'11 leave the door open to possibly
19:05:29       11       modi   fying that condition        on further   information   from the
19:05:32       72       parties.       Okay?

19:05:33 13                              MR.   BONNANO:     Thank you, Judge.
19:   05:34    14                        MR. SINGER:       Thank you.
19: 05:   36    1   5                    MAGISTRATE JUDGE MCCARTHY:         AII right.
19:05:35 16             Anything further           that I need to address today, counsel?
19:   05:40     71                       MR. BONNANO: No, your Honor.           Thank you.
19: 05:   44    1B                       MR. SINGER: No, Judge.          I don't believe so.
19:05:45 19                              MAGISTRATE JUDGE MCCARTHY:         Okay. And just
19:   05:41     20      back to the underlying           case, where do we stand in terms
19: 05:   51 2l         of further      deadlines?
19: 05:   54    22                       MR    S   INGER: Judge, I f iled motions j-n      my

19:05:51 23             discovery motion on the 14th.            Mr. Bonanno has to
19:   O6:04 24          respond to that per the scheduling order that you put in
19:06:07 25             place.
                  .#'-

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19:06:07      2                          MAGISTRATE JUDGE MCCARTHY:       Okay. We got
19:06:08      3          that in place then.      AII right.      Thank you aII.
19:06:11      4                          MR. BONNANO: Thank you, Judge.
19:06-.12     5                          MR. SINGER: Thank your Judge.
19:06:13      6                          MAGISTRATE JUDGE MCCARTHY: Bye-bye.

              1

              B                               CERT]FICATE OF REPORTER
              9

             10              I certify    that the foregoing is a correct      transcript
             11          of the record to the best of my ability          of proceedings
             72          transcribed     from the audio in the above-entitled       matter.
             13

             74          S/ Karen J. CIark,      RPR

             15          Official   Court Reporter
             t6
             t1
             1B

             19

             20

             2L

             ))
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             24
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,

              v.                                               21-CR-15-JLS-JJM

NICHOLAS TURNQUIST,

                        Defendant.
________________________________________________


             NOTICE OF MOTION AND MOTION FOR REVIEW OF
           MAGISTRATE JUDGE’S DETERMINATION ON DETENTION



       The United States of America by and through its attorney, James P. Kennedy, Jr.,

United States Attorney for the Western District of New York, and the undersigned Assistant

United States Attorney, respectfully moves, pursuant to Title 18, United State Code, Section

3145(a)(1), for an Order revoking Magistrate Judge Jeremiah J. McCarthy’s Order releasing

the defendant, entered on September 17, 2021; and the United States of America further

moves for an Order staying said Order of Magistrate Judge Jeremiah J. McCarthy until such

time as the Court can hear and determine the government’s motion for review of the

Magistrate Judge’s determination on detention.



       IN SUPPORT THEREOF, the government sets forth a memorandum, incorporated

herein by reference.
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WHEREFORE, it is respectfully requested that the Court:

1)    Stay the order of Magistrate Judge Jeremiah J. McCarthy releasing the

      defendant until such time as the District Court can hear and determine

      this motion; and

2)    Revoke Magistrate Judge Jeremiah J. McCarthy’s September 17, 2021

      order releasing the defendant from custody and continue defendant’s

      detention pending trial.



DATED: Buffalo, New York, September 22, 2021.


                                         JAMES P. KENNEDY, JR.
                                         United States Attorney


                                  By:    s/ PAUL E. BONANNO
                                         Assistant United States Attorney
                                         United States Attorney’s Office
                                         Western District of New York
                                         138 Delaware Avenue
                                         Buffalo, New York 14202
                                         (716) 843-5873
                                         Paul.Bonanno@usdoj.gov




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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,

              v.                                                  21-CR-15-JLS-JJM

NICHOLAS TURNQUIST,

                        Defendant.
________________________________________________


            GOVERNMENT’S MEMORANDUM OF LAW IN SUPPORT
            OF ITS MOTION TO REVOKE THE MAGISTRATE JUDGE’S
                    ORDER RELEASING THE DEFENDANT

       The United States of America by and through its attorneys, James P. Kennedy, Jr.,

United States Attorney for the Western District of New York, and Paul E. Bonanno, Assistant

United States Attorney, hereby files this Memorandum of Law in Support of its Motion for

Review of Magistrate Judge Jeremiah J. McCarthy’s Order releasing the defendant from

custody. (Dkt. 37)



                     BACKGROUND AND PROCEDURAL HISTORY

                       The Federal Charges Against The Defendant

       On November 2, 2020, defendant was charged by criminal complaint with violating

18 U.S.C. § 2423(a) (transportation of a minor with intent to engage in criminal sexual

activity). As set forth in the affidavit of FBI Special Agent Randall E. Garver filed in support

of the criminal complaint, the defendant is believed to have sexually abused and repeatedly

raped his minor stepdaughter, identified as Victim 1, over a period of years, beginning when
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Victim 1 was approximately 12 years old. (Dkt. 1.) The affidavit further alleged that the

defendant took Victim 1 on a number of out-of-state trips for the purpose of sexually abusing

her. This included trips to Splash Lagoon in Erie, Pennsylvania, Great Wolf Lodge in

Canada, an aquarium in Baltimore, Maryland, Disney World in Orlando, Florida, and a

water park in Sandusky, Ohio.



       On November 6, 2020, an initial appearance was held on the criminal complaint and

Federal Public Defender Fonda Kubiak was appointed as counsel. The government moved

for detention and noted that a presumption of detention applied. The defendant deferred on

the question of detention pending resolution of the circumstances of his state custody. See

Dkt. 4, Minute Entry from Nov. 6, 2020.



       On February 3, 2021, a federal grand jury returned an Indictment charging defendant

with one violation of 18 U.S.C. § 2423(a) (transportation of a minor with intent to engage in

criminal sexual activity). The defendant was arraigned on the Indictment on February 11,

2021. Assistant Federal Public Defender Kubiak was relieved as counsel and Robert Singer

was appointed to represent defendant. The government again moved for detention. See Dkt.

12, Minute Entry from Feb. 11, 2021. On February 25, 2021, the defendant agreed to waive

a detention hearing and reserved the right to seek bail upon a change of circumstances with

his state bail. See Dkt. 14, Minute Entry from Feb. 25, 2021.




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       On August 21, 2021, the defendant filed a motion for release from custody based on

the dismissal of charges against him in Wyoming County Court (discussed below). (Dkt. 19).

The government filed an opposition to the defendant’s release motion. (Dkt. 21) On

September 9, 2021, Magistrate Judge McCarthy heard argument from the parties and entered

an order denying the release motion without prejudice. (Dkt. 29) (A copy of the transcript

of the hearing on the release motion is attached hereto as Exhibit A.)



       The defendant filed a second release motion on September 13, 2021, in which he

proposed release with the posting of a $50,000 bond secured by equity in the defendant’s

mother’s house. (Dkt. 30) The government again filed an opposition to the release motion.

(Dkt. 35) Magistrate Judge McCarthy heard argument on the second release motion on

September 17, 2021. (A copy of the transcript of the hearing on the release motion is attached

hereto as Exhibit B.) At the conclusion of the hearing, Magistrate Judge McCarthy found

that the bail package proposed by the defendant “would reasonably assure” the Court that the

defendant would not pose a risk of flight or danger to the community. Exhibit B at 14.

Consequently, Magistrate Judge McCarthy ordered the defendant released on conditions,

including home detention and the posting of a bond in the amount of $50,000 secured by

equity in defendant’s mother’s house. The Court stayed the release order until 5:00 p.m. on

September 22, 2021. (Dkt. 37)



                        The State Charges Against The Defendant

       In addition to the federal charges, the defendant was indicted on state sexual assault

and rape charges in Wyoming County, Genesee County, and Erie County.



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        On July 28, 2020, the defendant was indicted by a Wyoming County Grand Jury on

two counts of Predatory Sexual Assault Against a Child, in violation of New York State Penal

Law Section 130.96, and one count of Rape in the Second Degree, in violation of New York

State Penal Law Section 130.30(1). The predatory sexual assault charges alleged that the

defendant committed a course of sexual conduct and rape against a child under the age of 13

years old. The case went to trial in July 2021. At trial, Victim 1 testified that the defendant

began sexually assaulting and raping her years earlier, sometime after she was badly injured

by a reckless driver and shortly before the family took a trip to Disney World. (A copy of the

transcript of Victim 1’s trial testimony is attached hereto as Exhibit C.) Victim 1 recalled the

trip to Disney World occurred in 2011, at which time Victim 1 would have been 12 years old.

On cross-examination, the defense produced evidence that the trip to Disney World actually

occurred in 2012 – when Victim 1 was 13 years old. Because the predatory sexual assault

charges required as an element that the victim be younger than 13 years old at the time of the

sexual assault, the trial judge granted the defendant’s motion for a trial order of dismissal.



        On February 4, 2021, defendant was indicted by a Genesee County Grand Jury on

one count of Rape in the Third Degree, in violation of New York State Penal Law Section

130.25(2), and one count of Sexual Abuse in the First Degree, in violation of New York State

Penal Law Section 130.65(1). The defendant faces up to four and seven years in state prison

on these charges, respectively. Trial has not been scheduled yet. Bail has been set in the

Genesee County case in the amount of $10,000 cash, $20,000 bond, or $30,000 secured surety

bond.




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       On June 30, 2021, the defendant was indicted by an Erie County Grand Jury on three

counts of Rape in the Third Degree, in violation of New York State Penal Law Section

130.25(2). The defendant faces up to four years in state prison on each of these rape counts.

Trial has not been scheduled yet. The defendant is currently held without bail in Erie County,

although defendant has filed a motion for release. The motion is pending.



                                  STANDARD OF REVIEW

       Review of a magistrate judge’s release order is de novo. “[W]here a defendant is

ordered released by a magistrate judge, the government may, under 18 U.S.C. § 3145(a)(1),

move for revocation of the release order before the district court. Upon such motion, the

district court must perform a de novo review of the magistrate judge’s release order.” United

States v. Boorman, 130 F. Supp. 2d 394, 398 (W.D.N.Y. 2001) (citing United States v. Leon, 766

F.2d 77, 80 (2d Cir.1985)). In United States v. Leon, the Second Circuit held that a district court

should “not simply defer to the judgment of the magistrate, but reach its own independent

conclusion.” Leon, 766 F.2d 77, 80 (2d Cir.1985); see also United States v. Colombo, 777 F.2d

96, 100 (2d Cir. 1985). The reviewing district court is also not limited to the record made at

the magistrate court.    Rather, the Court may take additional evidence or conduct a new

evidentiary hearing altogether. “When making its de novo review, the district court may rely

on the record of the proceedings before the magistrate judge and may also accept additional

evidence.” Boorman, 130 F. Supp. 2d 394, 398 (W.D.N.Y. 2001); see also Colombo 777 F.2d

96, 98 (2d Cir. 1985).




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                                GOVERNING STANDARDS

       When the government’s motion for detention is based upon a risk of flight assessment,

the government must establish, by a preponderance of the evidence, “the defendant, if

released, presents an actual risk of flight.” United States v. Sabhnani, 493 F.3d 63, 75 (2d. Cir.

2007) (citation omitted). When the government’s motion for detention is based upon the

defendant’s dangerousness, it “has the burden of establishing defendant’s dangerousness by

clear and convincing evidence.” United States v. Chimurenga, 760 F.2d 400, 403 (2d Cir. 1985);

see also 18 U.S.C. § 3142(f).



       The Indictment in this case charges the defendant with an offense involving a minor

victim in violation of Title 18, United States Code, Section 2423(a). Consequently, there is a

presumption that no condition or combination of conditions will reasonably assure the

defendant’s future appearance in Court and the safety of the community. See 18 U.S.C.

§ 3142(e)(3)(E).



       The defendant bears the burden of producing evidence to rebut the presumption set

forth in Section 3142(e)(3)(E). See United States v. Thompson, 436 F. Supp.3d 631, 635

(W.D.N.Y. 2020) (“The presumption shifts to a defendant ‘a limited burden of production—

not a burden of persuasion—to rebut that presumption by coming forward with evidence that

he does not pose a danger to the community or a risk of flight.’” (citing United States v. Mercedes,

254 F.3d 433, 436 (2d Cir. 2001)).




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           Once a defendant introduces rebuttal evidence, the presumption does not disappear

altogether, but rather continues to be weighed along with other factors. See United States v.

Rodriguez, 950 F. 2d 85, 88 (2d Cir. 1991).



                                          ARGUMENT

           In making a determination as to whether a person should be held without bail, courts

are to consider the four factors listed in 18 U.S.C. § 3142(g):          (1) “the nature and

circumstances of the offense charged, including whether the offense is a crime of violence . .

. or involves a minor victim”; (2) the “weight of the evidence against the person”; (3) the

“history and characteristics of the person”; and (4) the “nature and seriousness of the danger

to any person or the community that would be posed by the person’s release.” A review of

these factors supports the presumption that the defendant poses a danger to the community

and a risk of flight.



           1.    The nature and circumstances of the offense are very serious.

           There is no question that the defendant is charged with a serious crime.        The

Indictment charges a crime of violence involving a minor. 18 U.S.C. § 3156(a)(4)(C). The

specific allegation here is that the defendant purposely took his 16 year-old stepdaughter – a

child in his care – out of state, away from her mother, so that he could have illicit sexual

activity with her. A conviction for a violation of 18 U.S.C. § 2423(a) carries with it a

mandatory minimum term of incarceration of 10 years and a maximum term of incarceration

of life.




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       2.     The evidence supporting the charges is strong and compelling.

       Much of the evidence against defendant is described in the affidavit of Special Agent

Randall Garver that was filed in support of the criminal complaint in this case. For example,

Special Agent Garver’s affidavit references various witnesses against the defendant, including

the defendant’s biological daughter identified as Minor 2. Minor 2 told the interviewers from

the Child Advocacy Center that she witnessed defendant have sexual intercourse with Victim

1. Minor 2 said “he would force her to do things” that adults do. Minor 2 recalled a trip to

Pennsylvania that took place when she was five years old and in the middle of kindergarten.

She recounted the defendant and Victim 1 having some clothing on but Victim 1 being on top

of defendant, facing him, her legs spread over defendant, and that the two were under a

blanket. Minor 2 heard Victim 1 tell defendant to stop but he told her that he was the adult

and would do what he wanted. See Dkt. 1 ¶ 14.



       Notably, Special Agent Garver’s affidavit also describes a call that the defendant made

from the Wyoming County Jail to his wife, Carly Turnquist. The call was recorded and

provided to FBI by the Wyoming County District Attorney’s Office. During the call,

defendant told his wife, “[Victim 1’s] not saying that it was statutory rape, she’s not saying

that it was just rape, she’s saying that we forced and left marks on her.” Defendant then told

his wife to look up the age of consent in Pennsylvania, Ohio, Maryland, South Carolina,

Florida, and Canada, i.e., the places that he traveled to with Victim 1. Defendant says to his

wife at one point, “let’s say Pennsylvania is 15,” then, according to the defendant, law

enforcement cannot charge him with a crime. (Dkt. 1 ¶ 12) This jail call corroborates the




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charge here, which is that the defendant took Victim 1 to Splash Lagoon in Pennsylvania and

had sex with her there when she was only 16 years old. The jail call also suggests that

defendant had sex with Victim 1 in various states and that he is concerned he can be charged

with statutory rape in those states depending on what the age of consent is under their laws.



       Another notable item of evidence against defendant is a controlled phone call that

Victim 1 made to defendant on March 17, 2020, from the East Aurora Police Department.

Throughout the controlled phone call, Victim 1 is emotional and tearful. She asks the

defendant, “What made you want to do things with me? Like, I wasn’t even pretty.”

Defendant responds, “Because you wanted to. Like, what – I’m not going to sit here and

keep having the discussion because I don’t like the fact of any of it either, so. It is not

something that I’m exactly f***ing comfortable with…” Victim 1 later asks, “Okay. But

realizing now when I’m older, how was it consensual at the ages that I was? … I was a kid.

Like do you – is that what you regret, or do you regret, like, the whole thing? Do you regret

the young part, do you regret the old part, do you regret the whole thing? Like, all you keep

saying is, oh, I regret it. Okay. So what do you regret?” To which defendant responds, “That

it happened.” Victim 1 later says, “The whole point of this phone call was for you to help me

figure out how I’m supposed to tell my husband all of this.” Defendant responds, “And – and

that – that was me telling you that – if the times that it happened, it – I --- I regret doing it,

and I have trouble myself understanding it. How am I supposed to help you if I can’t even

help myself? … [Y]ou don’t think that I sit there and f***ing want to smash my head against

the wall? Knowing that I – I raised you, and I – I let things happen. Like, no. I feel like a

f***ing piece of crap, but nothing I can think of and nothing that I can do is going to change




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that that happened.” These statements by the defendant reflect his consciousness of guilt and

amount to an admission that he had sex with Victim 1 when she was “a kid.” (A copy of the

relevant portion of the transcript of this controlled call is attached hereto as Exhibit D.)



       Further evidence against the defendant is his admission to East Aurora police during

an interview shortly before his arrest that he had sex with Victim 1 – his stepdaughter –

although he insisted to the police it was only when she was 17 or 18 years old. The defendant

further admitted that he had sex with Victim 1 only after his girlfriend at the time (now his

wife) Carly Turnquist moved into the house and the three of them engaged in sexual activity

together.



       This is just some of the evidence against the defendant. There is significant other

evidence against him, as set forth in Special Agent Garver’s affidavit attached to the criminal

complaint. (Dkt. 1)



       3.      Defendant’s history and characteristics favor detention.

       The defendant’s character and past conduct indicate that he poses a danger to the

community. Not only did he repeatedly rape and sexually abuse Victim 1, but Victim 1

testified at trial in Wyoming County that the defendant threatened Victim 1 and her mother,

grandmother, and sisters with violence if Victim 1 told on him. He also committed acts of

violence against Victim 1, hitting her, punching her, and at one point throwing her down a

hill in their yard. See Exhibit C, trial transcript, direct examination of Victim 1, pages 38-39,




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43. Indeed, the very day that Victim 1 testified at trial in Wyoming County Court, the

defendant’s wife tried to run Victim 1 off the road, for which she has been charged with felony

witness tampering. 1 Given that there already has been an instance of witness intimidation in

this case, and given the defendant’s history of threats and violence towards Victim 1, the

defendant should remain in custody pending trial.



         4.       Defendant’s release poses a serious risk to children.

         The only “evidence” the defendant brought forward to rebut the presumption of

dangerousness and flight after Magistrate Judge McCarthy denied the original release motion

is defendant’s mother’s ability to post a $50,000 bond secured by her house. This “evidence”

is not “‘contrary to the presumed fact’ of his dangerousness” and flight risk. United States v.

Hicks, 15-CR-33-A, 2018 WL 11579881, at *7 (W.D.N.Y. May 5, 2017) (quoting United States

v. Rodriguez, 950 F.2d 85, 88 (2d Cir. 1991)).



         With respect to dangerousness, defendant can still have access to minor children if he

is released. The defendant has four underage daughters (two biological daughters and two

stepdaughters). The Magistrate Judge’s release order allows the defendant to have contact

with three of the four daughters (one is a witness, as noted above, and he is not permitted to

have contact with her). While the release conditions require the contact to be supervised, that

safeguard is insufficient here where the defendant’s wife, according to Victim 1’s trial


1
 The felony complaint filed in Wyoming County against Carly Turnquist states that as Victim 1 drove home from
court after testifying, Carly Turnquist drove her car close behind Victim 1’s car, passed Victim 1 in a no passing zone
and stared at her, and then cut in front of Victim 1’s car and braked suddenly. The felony complaint against Carly
Turnquist is attached hereto as Exhibit E. Trial has not been scheduled yet.




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testimony in Wyoming County, joined in the sexual abuse of Victim 1. See Exhibit C, trial

transcript, direct examination of Victim 1, at 42-43; Dkt. 1 ¶ 7.



       With respect to the risk of flight, even the strictest conditions of release, such as home

incarceration with GPS monitoring, cannot prevent a motivated defendant from cutting his

ankle monitor and attempting to flee. When faced with powerful evidence of his guilt—

together with the prospect of a mandatory minimum sentence of 10 years and a recommended

post-trial sentence of life imprisonment—defendant would have an incredibly strong

motivation to cut his ankle monitor and attempt to flee, either within the United States or

internationally. No conditions of release can minimize that incentive, and no conditions of

release can ensure that defendant does not cut his ankle monitor. Defendant faces a lengthy

prison term. He has little to lose by attempting to flee and everything to gain.



       In short, release of the defendant poses a serious risk of danger to the community. He

is charged with a crime for which Congress imposed a presumption that the defendant is a

danger to the community. While conditions such as the posting of security and electronic

monitoring mitigate against the risk of flight, they do not sufficiently protect the community.

See United States v. Ferranti, 66 F.3d 540, 543 (2d Cir. 1995) (finding that a $1,000,000 bond

would not deter the defendant’s danger to the community); Rodriguez, 950 F.2d at 89 (“The

bail package offered by Rodriguez, although it may reasonably assure the appearance of

Rodriguez at trial, will not reasonably assure the safety of the community.”).




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                                     CONCLUSION

       For the reasons stated above, the government respectfully requests that the District

Court revoke Magistrate Judge McCarthy’s release order and order that the defendant be

detained pending trial.



       DATED: Buffalo, New York, September 22, 2021.


                                                 JAMES P. KENNEDY, JR.
                                                 United States Attorney


                                         BY:     s/ PAUL E. BONANNO
                                                 Assistant United States Attorney
                                                 United States Attorney’s Office
                                                 Western District of New York
                                                 138 Delaware Avenue
                                                 Buffalo, New York 14202
                                                 716-843-5873
                                                 Paul.Bonanno@usdoj.gov




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  VICTIM 1: Okay. Well, there -- I need to talk to you, like : like, Justin's [Victim l's husband] starting
  to ask questions, like. He's -- how am I supposed to tell him that --

  NICHOLAS TURNQUIST: I don't know what you want me to tell you. If you want to talk, then
         talk. If you wanted Riley to see Lyla, you can take her anytime you want.
  come over,

  VICTIM 1: I just   need to know your input here. Like, he want -- like, he wants to know if -- he knows
  that I did things with you, okay. Like -

  NICHOLAS TURNQUIST: Right.
  VICTIM 1: He wants to know if I -- how old I was, and if I was a virgin, and all this other shit. Like,
  how am I supposed to explain this to him? Like, help me.

  NICHOLAS TURNQUIST: I don't know how you're supposed to explain anything. I - I don't. I -
  I'm -- I feel -- this is what I'm telling you. I still don't know how to explain shit that I've seen. I still beat
  myself up over decisions that I've made as, far as shit when I was 13 and l4-years-old that fucking
  caused me ever to be able to be a cop. That I sit there, and I can't get over because I - I beat myself up
  going, if I had just did that differently.

  VICTIM    l:   That's when you started doing stuffwith me, though.

  NICHOLAS TURNQUIST: When I was                   13   or 14,I didn't even know you.

  VICTIM    l:   No. You're--

  NICHOLAS TURNQUIST: I don't know what you're talking about.

  VICTIM    l:   Like, you're saying you've had stuffgoing on since 13 and 14, so have I

  NICHOLAS TURNQUIST: That's crap. Like,                   I   --   I   --   I don't know what you want me to tell you
  here. Like if -

  VICTIM I : Nick, I -- this is me and you, okay? I don't know if you're around Carley or what, but I just
  - why can't you just talk to me one-on-one for five seconds?
  NICHOLAS TURNQUIST: I am talking to you.

  VICTIM 1: I     need your help, Nick.

  NICHOLAS TURNQUIST: I'm              -   [Victim l], I am talking to you. I don't know what you want me to
  say to you.

  VICTIM 1: Like, it's not like I can go to a counsellor and be, like, oh, I had sex with my stepdad from,
  fucking, when I was a little kid to fucking     -
  NICHOLAS TURNQUIST: Oh my God. Okay

  VICTIM 1: -- until I was 18

  NICHOLAS TURNQUIST: And then                -   and then if that's what you feel you need to do, then go ahead,
  because that's crap, but.

  VICTIM l: No, it's not what I need to do. Nick, could you shut the fuck up here? Like, let's be serious.
  I don't know what the fuck you think is going on here, but you're not bullshitting me right now. Okay.
  I'm trying to have a conversation with you one-on-one. I don't know if it's because I'm on speaker and
  you're with Carley or you're next to her or what.
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  NICHOLAS TURNQUIST: No, I'm in the fucking bedroom by my damn self.                         I   don't need this
  (inaudible)

  VICTIM 1: Well, what the fuck, Nick, okay? I don't          need this shit right now.

  NICHOLAS TURNQUIST: I don't either. Like I don't know what the hell you want me to tell you.

  VICTIM 1: I want you to one-on-one      --


  NICHOLAS TURNQUIST: (Inaudible) Justin come over and I'11talk to him, too. You want to meet
  somewhere, I'll meet somewhere. If you want to hang out with Riley and Lyla, then you (inaudible)
  discuss that with her. I -- I - I'm giving you options here.

  VICTIM 1: Can you at least just tell me why?

  NICHOLAS TURNQUIST: Why--

  VICTIM 1: What made you wantto do something with me?

  NICHOLAS TURNQUIST: Why what?

  VICTIM 1: What made you want to do things with me? Like, I wasn't pretty.

  NICHOLAS TURNQUIST: Because you wanted to. Like, what - I'm not going to sit here and keep
  having the discussion because I don't like the fact of any of it either, so. It is not something that I'm
  exactly fucking comfortable with. Do you think, like, what I -- I sit there and love that, or -- or --
  fucking what? No.

  VICTIM 1: I'm not saying you did, I just want      some input here on how I'm supposed to get through it.

  NICHOLAS TURNQUIST: Well, because it was               a   fucking consensual thing, and it fucking happened,
  and unfortunately, it can't be taken back.

  VICTIM 1: Yes.

  NICHOLAS TURNQUIST:             SO.


  VICTIM 1: But yeah, it was -

  NICHOLAS TURNQUIST: You think that I fucking sit there and don't fucking regret very second of
  it? Well, sure, but what the fuck. I - nothing I do or say can get rid of that. Nothing I say or do -

  VICTIM 1: Okay. But realizing now when I'm older, how was it consensual at the             ages that   I was?

  NICHOLAS TURNQUIST: Seriously?

  VICTIM    l:   Yeah. It could have been where it was whatever, but I didn't know any better.

  NICHOLAS TURNQUIST: Okay.

  VICTIM 1: I was a kid. Like, do you -        is that what you regret, or do you regret,like, the whole thing?
  Do you regret the young part, do you regret the old part, do you regret the whole thing? Like, all you
  keep saying is, oh, I regret it.

  NICHOLAS TURNQUIST: Yeah.
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  VICTIM 1: Okay.       So what do   you regret?

  NICHOLAS TURNQUIST: That it happened.

  VICTIM     l:   Wow. Okay. Allright.

  NICHOLAS TURNQUIST: I mean, what was the point of this phone call, just to ask me that?

  VICTIM 1: No. The point     was for you to help me here. But if you regretted the whole thing, then why
  didn't it stop?

  NICHOLAS TURNQUIST: First of all, it did. So I don't know where you're coming from.

  VICTIM 1: Yeah, when I moved. [Victim 1 moved out when she was 18.]

 NICHOLAS TURNQUIST: I don't know half of where the hell you're coming from right now                    so.
  (Inaudible)

  VICTIM 1: When I moved is when it stopped. The question -- whole point of this phone call wasn't
  for me to find out that you regretted it. The whole point of this phone call was for you to help me figure
  out how I'm supposed to fucking tell my husband all of this.

 NICHOLAS TURNQUIST: And - and that - that was me telling you that - if the times that it
 happened, it -- I - I regret doing it, and I have trouble myself understanding it. How am I supposed to
 help you if I can't even help myselfl

  VICTIM 1: I don't know, I guess. I was hoping that I had something calling you

 NICHOLAS TURNQUIST: Well, and I'm trying to, but you don't think that I sit there and fucking
 want to smash my head against the wall? Knowing that I - I raised you, and I -- I let things happen?
 Like, no. I feel like a fucking piece of crap, but nothing I can think of and nothing that I can do is
  going to change that that happened.
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  EXHIBIT E
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     STATE OF NEW YORK                                                                                                      COUNTY OF     WYOMINC

      rOWN                                     COURT                                                                TOWN                     of   WARSAW


    Defendant: NA                                                                                         Alleged   Vlctlm:    NA
                                  (Relatlonshlp to alleged victim)                                                                    (Relationship to defendant)



                  THE PEOPLE OF THE STATE OF NEWYORK
                                              - vs.-                                   Oate of Birth


                                  CA,RLY M TURNQUIST                                      09/20n946

                                                                                       Dsfsndant(s)



     BE   lT    KNOWN THAT, by this             FELONYCOMPLAINTt COLIN P REACAN
     as   the Complainant herein,             STATIONED                 at   WYOMING CO. SHERIFF
A
     accuses the above mentioned Defendant(s), with having                     COI\itlVllTTED   lhe    FELoNY

     of    TAMPERING WITH A WITNESS /N IHE THIRD DEGREE                                                   in violation of   Section   215.11
U
S    Subdivision       01                    ofthe     PENAL                                                    Law of the State of New York.
A    That on or about                 07/19/2021           at about            04:30 PM
T
I
     in   the   ToWN                          of   WARSAW                                   , County of          WYOMING                       the defendant(s)
o    did intentionally, knowingly and unlawfully commit the felony of TAMPERING W|TH A WTNESS-3RD: PREVENT TESTIMONY -FEAR OF INJURY. A
N    person is guilty o{ tanpering wifh a w,t ?ass in he lhird degree when, knowing that a person is about to be called as a lvifnoss in a criminal proceeding:1
     He wrongfully compels or attempts to compel such person to absent himself from, or otheruise to avoid or seak lo avoid appeaing or testifying at such
     proceeding by means ol instilling in hin a fear that the aclor will cause physical injury to such person or anolher person;Tampering with a witness in the
     third dagree is a c/ass E falony.




     ON JULY 19, 2021 AT OR AROUND         WHILE ON STATE ROUTE 2OA IN THE TOWN OF WARSAW COUNTY OF WYOMING, STATE OF
                                    DID KNOWING ATTEMPT TO COMPEL MIRANDA L. KRANZ TO AESENT HERSELE OR IO SEEK TO AVOID
     NEW YORK. CARLY M. TURNQUIST '63OHRS
F    IESTFY'AIG, IS 4 MTNESS IN A CRIMINAL TRIAL, BY ME,4NS OF FALLOWING MIRANDA KRANZ IN A VEHICLE. WHILE MIRANDA KRANZ WAS
A    THE DRIVER OF ANOTHER VEHICLE, AND DID FOLLOW MIRANDA KRANZ WHILE OPERATING HER VEHICLE ERRATICALLY BY MEANS OF
     FOLLOWINO TOO CIOSEIY PASSIA/G IN A NO PISS/NG ZONE, PACING MIRANDA KRANZ AND S?ZR/'VG AT HER WHILE PASSING HER,
     CUTTING IA/ FRONT OF MIRANDA KRANZ WHEN AN ONCOMING VEHICLE WAS APPROACHING, AND IHEN RECKLESSLY ERAKIA/G FOR A/O
T
     APPARENT LEGITIMATE PIJRPOSE NEARLY C/US'NG TWO ACCIDENTS WHILE DOING SO AND SAID ACTS DID INSTILL FEAR IN MIRANDA
S    KRANZ THAT CARLY TURNQUIST WOULD CAUSE PHYSICAL INJURY TO MIRANDA KRANZ BY MEANS OF FORC'NG A MOTOR VEHICLE
     COLLIS'O/\I TO OCCUR, ALL CONTRARY TA THE PROYIS/ONS OF THE STATUTE //V SUCH CASE MADE AND PROVIDED,




     The above allegations of fact are made by the Complainant herein on drrect knowledge and/or upon infomation and belief, with the
     sources of Complainant's information and the grounds for belief being the facts contained in the attached SUPPORTING
     DEPOSITION(S)          of:   M/RAfrDA KRANZ, ?aLLEEN MARVEL


N    ln a written instrument, any person who knowingly makes a false statement which such person does not believe to be true
o    has committed a crime under the laws of the State of New York punishable as a ClassA                         lvlisdemeanor.
                                                                                                                       (PL 210.45)
T
I
     Atfirmed under penalty of perjury


E
     this       zo TH day of
                       --oR--
                                             JULY      ,   2021
                                                                                                        #*'#dz=_
                                                                                                       COl\/PLAINANT -
     Subscribes and sworn to before me               this_            day of
                             20
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SUPPoRTTNG DEPOSTTTON (CPL S100.20)                                                                                                                                      PAGE   1   OF 2



                 THE PEOPLE OF THE STATE OF NEWYORK
                                 -- vs.

                                         CARLY M TURNQUIST

                                                  Defendant(s)




                                        INCIDENT LOCATION:                                                                                   LOCATIAN OF DEPOSITION:


       STATE OF NEW YORK rOC,qt CRIMINAL                                                                  COURT                               STATE OF NEW YORK


       COUNTY          OF            WYAMING                                                                                COUNTY   OF       WYOMING


         TAWN                        of           WARSAW                                                                     TOWN              of   WARSAW



      Dat6                             Time Started                                          Full Name:
On     07n02021               at       09:10 AM                                      t,      MIRANDA L KRANZ

Date of Birth                         No. and Strest                                                                                                                            Stat6
o6/o2J1 998                           ADDRESS KNOWN TO WCSO                                                                       1""'
State The Followlng;
                     L KRANZ, AND I AA/I A VICTIM IN A CRIA/IINAL ACTION IN WHICH I WAS TESTIFYING AT ON
A/IY NAIIE IS II/IIRANDA
JULY    2021.
          19, I WAS TESTIFYING  AT THE WYOII/IING COUNTY COURT HOUSE AGAI/VST THE DEFENDANT,
NICHOLAS TURTVQU/SI. AT THE END oF THE DAY ON JULY 19, 2021 AT AROUND 7630HRS. I LEFT THE WY)AI\NG
COUNTY COURT HOUSE. I DROVE S/DE STREETS TO GET TO STATE ROUTE 2OA. AND I DROVE WEST TO LEAVE
THE VILLAGE. BY THE TIfrIE I GOT TO THE WEST HILL BY THE RAILROAD TRACKS, I NATICED AN OLDER RED
 FORD FOCUS TAILGATING A/IE. I COULD CLEARLY SEE,,VTO THE VEHICLE THAT THE DRIVER WAS CARLY A/1.
TURIVQU/ST, THE DEFEIVDANTS WFE i CONTINUED WEST O/V STATE ROUTE 2OA AND CALLED COLLEEN
IVARVEL FROA/I THE DA'S OFFICE FOR HELP, WHILE TALKING TA COLLEEN I CONTINUED WEST INTO THE TOWN
AF WARSAW. I WAS TRAVELING AT SPEEDS AF 1OAIPH TA 65MPH OiV STATE ROUTE 2OA IN THE TAWN OF
WARSAW. WE PASSED A CHURCH WHICH SAID 'IA/IA/IANUEL" ON THE SIGN, A/VD CARLY TURNQU/ST WAS SNLL
 TATLGATTNG         AFTER WE PASSED THIS CHURCH, CARLY rURlVQUlSr BEGAN ro PASS AIE AND DtD PASS l/lE
              ^/lE. ZANE. WHILE PASS//VG A/IE. CARLY IUR/VQU/Sr PULLED BESIDE
/rV A IVO PASS//VG                                                                 AND PACED ttlY VEHICLE.
 CARLY TURIVQU/ST TURNED HER HEAD AND LOAKED AT A/IE WHILE DRIVING NEXT ^/lE    TA MIE. A VEHICLE THEN
 APPEAREDTRAVELING THE APPASITE DIRECTIAN FRANIUS. SO CARLY TURIVQU/ST THEN COMPLETED THE
PASS AfuD PULLED //V FRO/VT OF fi/IE, DURING THIS TIIi/IE I WAS AFRAID THAT CARLY TURNQUIST WAS GO//VG
TO CAUSE AN ACCIDENT. AND I HAD SLOWED DOWN TO APPROXIII/IATELY 45MPH. ONCE CARLY TURIVQU/ST
WAS IN FRONT OF IIIE, I OBSERVED




                                                                                                                  Notice
                                                                                                            (Penal Law 5210.45)
     ln a written instrument, any person who knowingly makes a false statement which such person does not believe to be true has
  committed a crime under the laws of the state of New York punishable as a Class A ltllisdemeanor,

  Atfirmed under penalty of perjury
                        TH
  this __39__                       day of                JULY                      2021


                              -oR-
                                                                                                                                  (wINES9)
  . Subscribed and Sworn to before me
                                                                                                                                                        Time Ended

  this                              day of
                                                                                                                    &,       dtt,,,t     futdnt         07120t2021   09:20 AM



     Tils form nied t/; srvarn to   orrlv rvhen   lpaa fr(ali,r required Lv   ti*   (!ril1
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SUPPoRTTNG DEPOSTTTON (CpL S100.20)                                                                                              PAGE   2 }F   2




Stale The Followlng:
AS SHEERAKE CHECKED A/IE TWO TIATES. BOTH OF THESE TII/IES, I WAS TRAVELING AT APPROXIAIATELY
45AIPH. AND I SLOWED DOWN, IF I HAD NOT SLOWED DOWN. I WOULD HAVE STRUCK HER VEHICLE. COLLEEN
AIARVEL TOLD A4E TO PULL OVER, AND I PULLED OVER JUSTEAST OF THE ORANGEVILLE TOWN LINE. I
OBSERVED AS CARLY TURIVQU/Sf'S ERAKE LAA/IPS CA^/IE ON WHEN I ?ULLED OVER, ArvD SHE WENT OVER THE
HILL AND OUT OF SIGHT. I DID NOT SEE CARLY TURIVQU/ST,S VEHICLE AGAIN. I FEEL THAT CARLY TURIVQU/ST
DID THESE ACTS /iVIEIVTrcNALLY AND KNOWNG THAT IT WAS A/IE DRIVING frTY CAR.




                                                                                               Notice
                                                                                         (Penal Law S21 0.45)
    ln a written instrument, any person who knoviringly makes a false statement which such person does not believe to be true has
 committed a crime under the laws of the state of Nera,r York punishable as a Class A lrilisdemeanor.

 Affirmed under penalty of perjury
                         TH
 this _2!__                           day of           JULY                     202',l


                                 -oR-
  'Subscribed and Sworn to before me
                                                                                                                07t21tao21   09:20 AM
 this                                 day of

 '   Tlrrs torm   n6ed be swom   It   tnlv wherr sirr.rlcaiv r6qJrao   bV   lh8 rouri
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 SUPPoRTING DEPOSITTON (CpL S100.20)                                                                                                                                PAGE   1   CF   1




                      THE PEOPLE OF THE STATE OF NEWYORK
                                      -- vs.

                                              CARLY M IURNQU/ST

                                                     Defendanl(s)



                                             INCIDENT LOCATION:                                                                          LOCATION OF DEPOSITION :


        STATE OF NEW YORK 196:41 CRIM;NAL                                                                 COURT                           STATE OF NEW YORK


        COUNTY              OF            WYOMING                                                                           COUNTY   OF   WYOMING


            TOWN                         of          WARSAW                                                                   TOWN         of   WARSAW



       Drte                                Time Starled                                      Full Nama:
On      07n0Do21                    at     O9:10 AM                                   t,     COLLEEAI MARVEL

State The Followlng:
On July 19th I escorted A/liranda Kranz to her vehicle after she completed testimony in the trial. She expressed concem that
Carly Turnqurst would try to follow her from the courlhouse to her home. I advr'sed fi/liranda to call me if anything happend
while she was driving. At 4:35, I received a call from lt/liranda on my cell phone. She was very upset and scared She was
crying and kept repeating. 'She's behind me. sheb behind me". I told Aliranda to s/ow down and let Carly pass ltliranda did
that and they described Carly as s/owrng down as well. I told Atliranda to keep driving and we would get someone from law
enforcement to her location. At that time. Atliranda described passlng a church on 20 A heading West Atliranda describd
Carly's vehicle as a red ford Tauris While on the phone with Atliranda, Breanna Crane from our office called dispatch ta get
law enforcement to find Aliranda and escort her to the county line. I totd Aliranda to continue driving. Carly w*as stitl behind
her at this point. While continuing to talk to fi/liranda I relayed her tocatan to Breanna who told dispatch. We were told a
Deputy was calld and would be on route to fvliranda. After a few minutes of driving A/liranda told me that Carly hadpassed
her at a high speed and was driving away Dispafch was told this, and they told us to have Aliranda turn around and return
to Warsaw. I relayed that to lt/liranda, she told me she was turning around in the truck turnaround on 20A and was heading
back. Depufy Sampson was on his way and it was decide4 that A/liranda should pull into G/ossers farm stand to wait for the
Deputy. I stayed on the phone with her until Deputy Sampson arrived. During the calt, l/liranda was upsef and crying. She
sard she was afraid and wantd me to stay on the phone with her.




                                                                                                                  Notice
                                                                                                           (Penal Law 521 0.45)
     ln a written instrument, any person who knowingly makes a false statementwhich sirch person does not believe to be true has
  committed a crime under the laws of the state of New York punishable as a Class A lvlisdemeanor

  Affirmed under penalty of perjury
                             TH
  this              20                   day    of          JULY                     2021

                                   -oR-
  'Subscribed and Sworn to before me

  this                                   day of
                                                                                                                                     u                        09:20 AM



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                                                A-358
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                Plaintiff,

v.                                                                Case No. 21-CR-15-JLS-JJM

NICHOLAS TURNQUIST,

                                Defendant.


                                  ATTORNEY DECLARATION

               I, ROBERT C. SINGER, ESQ., make this Declaration under penalty of perjury

pursuant to 28 U.S.C. § 1746:


               1.      I am an attorney at law duly licensed to practice in the State of New York

and this Court and I am Owner of Singer Legal PLLC, attorneys for defendant Nicholas Turnquist.


               2.      I submit this declaration in opposition to the government’s appeal of

Magistrate Judge McCarthy’s decision to release Mr. Turnquist on conditions pending trial. For the

reasons set for below, Magistrate Judge McCarthy’s decision to release Mr. Turnquist on conditions

was sound and should not be disturbed.



                                             Procedural History

               3.      On November 2, 2020, a criminal complaint was filed in the Western District

of New York accusing the defendant of a violation of 18 USC § 2423(a). The alleged victim

mentioned in the allegation is Miranda Kranz, Mr. Turnquist’s step-daughter. On November 6,

2020, Mr. Turnquist was informed of the complaint and the government moved for his detention.

Prior to the filing of the complaint in this matter, Mr. Turnquist was the subject of an indictment in

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Wyoming County, New York alleging violations of New York Penal Law §§ 130.96 (predatory

Sexual Assault of a Child) and 130.30(1) (Rape – 2nd Degree) for acts involving Ms. Kranz. Bail in

Wyoming County was set in an amount that the family could not afford ($1,000,000.00), so

Mr. Turnquist remained in custody in Wyoming County. As a result, Mr. Turnquist’s counsel, then

AFPD Fonda Kubiak, reserved her right to request a detention hearing in the future. The

Magistrate Judge McCarthy ordered Mr. Turnquist returned to state custody and directed the U.S.

Marshal to place a federal detainer against Mr. Turnquist. See Dkt. 8.



               4.      On February 3, 2021, a federal grand jury returned an indictment against

Mr. Turnquist for the same offense mentioned in the criminal complaint. See Dkt. 9. Prior to

arraignment, I was asked to take over representation of Mr. Turnquist. On February 11, 2021,

Mr. Turnquist was arraigned on the indictment. I was assigned and entered a plea of not guilty on

behalf of Mr. Turnquist. Because bail remained unattainable in the Wyoming County matter, I

requested leave to file a bail motion in the future. The Magistrate Judge McCarthy consented to this

request and ordered Mr. Turnquist returned to Wyoming County.



               5.      In Winter 2021, a grand jury in Genesee County, New York, returned an

indictment against Mr. Turnquist alleging violations of New York Penal Law §§ 130.25 (Rape – 3rd

Degree) and 130.65 (Sexual Abuse – 1st Degree) for acts involving Ms. Kranz. The Court remanded

Mr. Turnquist, but indicated that bail could be revisited if bail could be posted in Wyoming County.



               6.      On July 8, 2021, a grand jury in Erie County, New York returned an

indictment against Mr. Turnquist alleging three counts of a violation of New York Penal Law §




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130.25 (Rape – 3rd Degree) for acts involving Ms. Kranz. The court remanded Mr. Turnquist, but

permitted counsel to make further argument on bail.



       The Wyoming County matter ends in dismissal

               7.      In July 2021, the Wyoming County matter proceeded to trial. The People

presented two witnesses: Miranda Kranz and Investigator Aaron Anderson. Following Ms. Kranz

testimony, the defense made a motion to dismiss the indictment. The Wyoming County Court

entertained the motion, heard argument, and entered a trial order of dismissal. As set forth

extensively in briefing before Magistrate Judge McCarthy, see Dkts. 19-1, 21, and 26, and at oral

argument before the Court, the reason for dismissal had to do with the fact that prosecutors could

not prove the charges in the indictment (predatory sexual assault of a child under the age of 13 years

old) because Ms. Kranz and others alleged that the sexual abuse allegedly perpetrated by

Mr. Turnquist against Ms. Kranz occurred in 2011 when she was 12 years old, but the evidence

proved that this was impossible based on documents in the possession of prosecutors and other

documents recovered by the defense before trial. Following dismissal, the Wyoming County District

Attorney chose not to seek a new indictment against Mr. Turnquist.



       All Judges in the three remaining cases grant bail

               8.      Following dismissal of the Wyoming County matter, Mr. Turnquist filed a

new bail application in Genesee County Court. After reviewing the evidence, in August 2021 the

Genesee County Court granted Mr. Turnquist bail and adopted the Genesee County District

Attorney’s recommendation: $10,000.00 (cash bail); $20,000.00 (bond); or $30,000.00 (secured surety

bond). Mr. Turnquist did not post immediately because his bail conditions in the federal matter and

Erie County matter remained unresolved.


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               9.      In the federal matter, Mr. Turnquist filed a motion for release on August 21,

2021. See Dkts. 19, 26. The government opposed release, see Dkt. 21, but the U.S. Probation Office

recommended release under certain conditions, to include home detention and electronic

monitoring. Oral argument on the motion was held on September 9, 2021 and Magistrate Judge

McCarthy denied Mr. Turnquist’s motion, without prejudice. See Dkt. 29. Magistrate McCarthy

requested the defense to submit a new bail package, possibly one that included a monetary condition

(the defense argued at the first hearing that monetary conditions should not be imposed because

Genesee County Court had imposed monetary bail and it was expected that Erie County Court

would do the same). On September 13, 2021, Mr. Turnquist filed a second motion for release which

included a $50,000.00 surety condition.1 See Dkts. 30 and Exhibit I (Sealed), 36. The government

opposed release. See Dkt. 35. On September 17, 2021, Magistrate Judge McCarthy heard oral

argument on the second motion for release and ordered Mr. Turnquist released on conditions

because Mr. Turnquist had successfully rebutted the presumption in 18 U.S.C. § 3142(e)(3)(E) and

the government failed to prove that Mr. Turnquist was a flight risk and danger to the community.

See Dkt. 37. The government sought a stay of the order and appealed the decision to this Court on

September 22, 2021. See Dkt. 40.



               10.     On September 22, 2021, Erie County Court heard oral argument on

Mr. Turnquist’s bail application relevant to the Erie County matter. After hearing argument, the

court denied the prosecution’s request for remand and set bail: $100,000.00 (cash); $250,000.00

(bond); and, $250,000.00 (secured surety bond).



1
  The Asset Forfeiture Section of the U.S. Attorney’s Office has reviewed the surety information
offered by Mr. Turnquist to secure his release. On September 22, 2021, the Asset Forfeiture Section
indicated to me that the surety’s interest in the property and all paperwork submitted to secure the
surety bond was acceptable to the government.

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                                              Argument

                11.     But for the government’s request for a stay and the instant appeal,

Mr. Turnquist would be out of custody. This is because Magistrate Judge McCarthy, after hearing

extensive argument and evidence on two separate occasions, concluded that the evidence failed to

prove that Mr. Turnquist is a flight risk or danger to the community, Mr. Turnquist has

fulfilled/agreed to fulfill the conditions set by Magistrate Judge McCarthy, and Mr. Turnquist and

his family are prepared to post bail pursuant to the monetary conditions set by Genesee County

Court and Erie County Court who also found that Mr. Turnquist is not a flight risk if he posts bail in

the amount set by the Court.



                12.     When evaluating the release of a defendant under 18 USC § 3142, the Bail

Reform Act instructs courts to consider four factors:

                (1) the nature and circumstances of the offense…;
                (2) the weight of the evidence against the person;
                (3) the history and characteristics of the person, including –
                        (A) the person’s character, physical and mental condition,
                        family ties, employment, financial resources, length of
                        residence in the community, community ties, past conduct,
                        history relating to drug or alcohol abuse, criminal history, and
                        record concerning appearance at court proceedings; and
                        (B) whether, at the time of the current offense or arrest, the
                        person was on probation, on parole, or on other release
                        pending trial, sentencing, appeal, or completion of sentence
                        for an offense under Federal, State, or local law; and
                (4) the nature and seriousness of the danger to any person or the
                community that would be posed by the person’s release.

See 18 USC 3142(g). Consistent with the findings of the U.S. Probation Office and Magistrate Judge

McCarthy, on balance, these factors weigh in favor of releasing Mr. Turnquist from pre-trial

confinement.




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                13.     Nature & Circumstances of the Offense. There is no dispute that the charge in the

indictment is serious. However, at this time, the charge is nothing more than an unproven allegation

for which Mr. Turnquist enjoys the presumption of innocence. And while this allegation may sound

heinous on paper, proving the allegation to a jury beyond a reasonable doubt is far from certain at

this point. In briefing below, Mr. Turnquist presented multiple pieces of evidence that undermine

the credibility of the alleged victim, Ms. Kranz, the alleged victim’s mother, Amanda Turnquist, and

several other government witnesses. The defense is not going to belabor all of these points and

pieces of evidence in this appeal response. A review of them demonstrates that a conviction at trial

is far from certain. And this factor is but one of four factors considered by the Court.



                14.     Weight of the Evidence. Again, the parties engaged in extensive briefing

regarding this factor before Judge McCarthy. The government relies on the fact the Ms. Kranz

keeps repeating the allegations, that other people keep repeating the allegations, that a five-year old

allegedly witnessed behavior a decade ago that appeared to be sexual in nature, that Mr. Turnquist

and his wife discussed the age of consent when trying to brainstorm legal defenses in a jailhouse call,

and that Mr. Turnquist allegedly admitted to the conduct at issue during a controlled call with the

alleged victim. Mr. Turnquist pointed out how there are no witnesses to the alleged misconduct,

there is no forensic evidence to corroborate the alleged sexual activity, Mr. Turnquist denied the

allegations in a multi-hour police interrogation, one trial has ended in a dismissal before the

government closed its proof, the government’s excerpts of the jailhouse and controlled call take out

of context Mr. Turnquist’s responses, and the principal witnesses in this case not only harbor

motives to lie, but also have lied to the police, the grand jury, and to courts in the past.




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                15.     As I conceded to Magistrate Judge McCarthy at oral argument on September

17, 2021, it is clear that, at this stage, the defense is not going to convince the government that its

case is weak and the government is not going to convince the defense that its case is weak. In the

end, that is what a trial is for. The important point Mr. Turnquist made is that this is not a case

where the defendant was caught having sex with a minor on video and thereafter made an air-tight

confession (making a conviction readily achievable). Thus, the “weight” of the evidence is not as

heavily tilted in the government’s favor as it proffers. And the Bail Reform Act does not require the

Court to resolve this contest to grant pretrial release because this factor is but one of several in the

analysis. Mr. Turnquist may not prevail on this factor completely, but neither does the government.



                16.     History & Characteristics of Mr. Turnquist. In its appeal, the government

contends that “[t]he only ‘evidence’ the defendant brought forward to rebut the presumption of

dangerousness and flight after Magistrate Judge McCarthy denied the original release motion is

defendant’s mother’s ability to post a $50,000 bond secured by her house.” See Dkt. 40-1 at 11.

This statement is belied by the papers. In both his written motions, at oral argument, and in the bail

report prepared by the U.S. Probation Office, Mr. Turnquist both presented and noted evidence

verified by the Probation Office regarding his history and characteristics and those traits prove how

he is neither a flight risk nor danger to the community. Mr. Turnquist does not have a criminal

record. Prior to his arrest, he served this community as a corrections officer and volunteer fireman.

He has strong ties to the area. He is married. He has children. He used to own property until this

case caused him to have to sell his marital residence. He has family in the area. Mr. Turnquist does

not have a history of abuse of drugs and alcohol. All of this evidence demonstrates why Mr. Turnquist

is not a flight risk or danger to the community.




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                17.      In its appeal, the government argues that Mr. Turnquist’s “repeated” rape

and sexual abuse of Ms. Kranz and her testimony that he threatened and physically assaulted

Ms. Kranz and others is evidence of his negative history and characteristics. See id. at 10-11. Again,

the allegations involving Ms. Kranz are unproven at this time. The testimony she gave in Wyoming

County also is not corroborated by medical documents, pictures, etc. There also is a strong motive

to fabricate these unproven allegations possessed by Ms. Kranz and the other witnesses referenced

in the government’s appeal. So, the government’s arguments are not as persuasive as it implies.



                18.      What matters under the Bail Reform Act is whether Mr. Turnquist’s history

and characteristics show that he is a person who will run or commit additional offenses. His history

and characteristics do not indicate that. He has no record, substance abuse problem, or many of the

other classic concerns relied up by federal magistrates and judges to deny pretrial release. That is

why Mr. Turnquist prevails on this factor.



                19.      Nature & Seriousness of the Danger to any Person/Community Posed by Release. The

government in its appeal makes several arguments regarding dangerousness. All of these arguments

do not create a bar to pretrial release.



                20.      The government argues that pretrial release endangers Ms. Kranz and other

witnesses. If the allegations are to be believed to any degree, then Mr. Turnquist logically could pose

a “danger” to Miranda Kranz and Amanda Turnquist, however Magistrate Judge McCarthy imposed

a no-contact order and other reasonable restrictions to protect the alleged victim and her mother.

This condition resolved that concern and Mr. Turnquist has no history of violating court orders. As

a former officer, he understands the risks of failing to abide by such orders.


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                21.     Moreover, to the extent the government attempts to imply that

Mr. Turnquist is going to intimidate Ms. Kranz because his wife, Carly Turnquist, allegedly did so,

the Court should reject this argument. First, there is no evidence that Mr. Turnquist directed his wife

to do this – he was in custody at the time it happened and found out about it after-the-fact. Second,

it is wholeheartedly improper for this Court to deny bail to Mr. Turnquist because his wife did

something to a witness. Third, the allegation against Carly Turnquist is not as solid as the

government portrays. Exhibit K to this response contains body camera footage taken of Ms. Kranz

by the officer responding to this alleged incident minutes after it happened. In the video, Ms. Kranz

is not scared or intimidated; instead, she is calm and jokes with the officer. She describes how she

was driving down the road within normal speed when Carly Turnquist overtakes her and looks at

her (but says and does nothing threatening), then slows down to more normal speed (rather than

“cutting” in front of her car as the government avers), and after twice “brake-checking,” when

Ms. Kranz pulls off the road, Carly Turnquist continues driving away. Furthermore, Carly Turnquist




                                                                                              Church
             Cemetery




                        The stretch of Route 20A where this is alleged to have occurred.
               The encounter occurred between the Church and Cemetery (approximately 2000 feet)

not only pleaded not guilty, but she described the incident much differently to her husband on a jail

call later that day. Carly told Mr. Turnquist that Ms. Kranz was “brake-checking” her first, so she

overtook Ms. Kranz and kept driving away. See Exhibit J. Similar to many of Ms. Kranz’s

allegations, there is no corroborating evidence (and the same motive to fabricate). The Court should

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reject this as a reason to deny release to Mr. Turnquist. Carly Turnquist’s alleged actions are

irrelevant.



                   22.   The government argues concern over dangerousness on the basis that

Mr. Turnquist “can still have access to minor children” because Magistrate Judge McCarthy

permitted supervised visitation with non-witness children. See Dkt. 40-1 at 11. The government’s

belief in the validity of Ms. Kranz’s allegations aside, Mr. Turnquist does not pose a danger to

anyone or the community at large. This case does not involve a “stranger victim” in the community

– the allegations are relegated to a family member only – so the Court should not be concerned that

Mr. Turnquist will commit these offenses against other people in the community. Furthermore,

there is no evidence that Mr. Turnquist has done this to anyone else in his family (those possible

victims were interviewed and denied such abuse). And while it is true that Mr. Turnquist and Carly

Turnquist engaged in a consensual sexual relationship with his step-daughter Ms. Kranz when she

was 17-18 years old 2 – something that is legal in New York State – this does not indicate that he will

violate the law.




2
 It is important to note that Ms. Kranz lied under oath about this relationship. In the Wyoming
County matter, she claimed she was raped at this time. When confronted with text messages sent by
herself to Mr. Turnquist which proved that the conduct was consensual, rather than tell the truth,
she feigned a lack of recollection and then denied she even sent the messages. As Mr. Turnquist set
forth in his reply, this testimony was patently false and the text messages (Dkt. 26-1 – Exhibit G)
prove that her testimony was false.

         The defense conceded below, just like Mr. Turnquist did to the police, that this relationship,
however legal, was not morally appropriate. It is something Mr. Turnquist regrets. Such regrets
form the basis of the “admissions” in the controlled call the government so heavily relies upon as
strong proof of guilty, yet it is an admission to the consensual relationship, not the illegal
relationship, that Mr. Turnquist is talking about. He denies the illegal relationship multiple times in
this call. Mr. Turnquist was willing to admit to his behavior, even if Ms. Kranz cannot under oath.

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                   23.     The government also argues that Mr. Turnquist should be denied bail

because there is nothing that can minimize Mr. Turnquist’s incentive to flee or commit crime

because of the lengthy prison sentence he faces, if convicted. See id. at 12. Taken to its logical end,

the government’s argument stands for the proposition that no defendant should be released pending

trial if they face a mandatory minimum sentence unless bail can remove all risk of flight and danger. 3

Yet, it is important to note that pretrial release under the Bail Reform Act does not require

conditions, financial or otherwise, that guarantee appearance or remove all risk. As Magistrate Judge

Scott aptly put:

                   Despite its willingness to allow defendant a chance at release, the
                   Court acknowledges that “the enforcement of all constitutional
                   restraints upon government in its efforts to administer the criminal
                   law entails risks.” United States v. Gonzales Claudio, 806 F.2d 334, 343
                   (2d Cir. 1986), superseded in part on other grounds by Fed. R. Crim P. 5(c).
                   “That, of course, is true of every defendant released on
                   conditions; it is also not the standard authorized by law for
                   determining whether pretrial detention is appropriate. Section
                   3142 speaks of conditions that will ‘reasonably’ assure
                   appearance, not guarantee it.” United States v. Xulam, 84 F.3d 441,
                   444, 318 U.S. App. D.C. 1 (D.C. Cir. 1996) (citation omitted).




3
  The government references two cases in its brief – United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir.
1991) and United States v. Ferranti, 66 F.3d 540, 543 (2d Cir. 1995) – to support its argument that bail
should be denied in this case because of dangerousness. The facts in these cases are markedly
dissimilar to the facts in this case. In Rodriguez, the defendant was accused of being a hitman, who
admitted to another murder and shooting, and who accepted a murder-for-hire proposition. See
Rodriguez, 950 F.2d at 87. The government proved this at the detention hearing using recorded
conversations between the defendant and a DEA undercover agent as well as another reliable CI.
See id. The court found “clear and convincing” dangerousness on such evidence. In Ferranti, the
defendant was accused of murder and arson. See Ferranti, 66 F.3d 540, 541. At the detention hearing,
the government offered five-hours of testimony and other evidence to demonstrate that Ferranti
committed a fatal arson and was involved in assault, attempted murder, murder, and witness
intimidation. See id. at 541-44. The court found “clear and convincing” dangerousness on such
evidence. Here, the charges at play and the evidence presented by the government to prove
dangerousness is not the same as in Rodriguez or Ferranti. It is not even close.


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United States v. Albannaa, No. 12-CR-174S, 2013 U.S. Dist. LEXIS 135618, at *9 (W.D.N.Y. Sep. 23,

2013) (Scott, J.) (emphasis added). Furthermore, under the Bail Reform Act, a judicial officer is not

permitted to impose any financial conditions of release which result in the pretrial detention of a

defendant. See 18 U.S.C. § 3142(c)(2). Instead, a Court is required to impose the least restrictive

conditions possible that will reasonably assure the defendant’s appearance and the safety of the public.

See 18 U.S.C. § 3142(c)(1)(B). To the extent the government advocates for more than that, its

argument should be rejected.



                24.     Lastly, the continued detention of Mr. Turnquist is an impediment to our

effective preparation for trial. At this time, Genesee County Jail, like many facilities in the Western

District of New York, is experiencing another surge in COVID-19 infections. Genesee County Jail

has responded to this concern by locking down the jail to all outside visitors and suspending

attorney visitation. There is no end in sight to this order. As such, Mr. Turnquist and I are forced

to prepare for everything in this case remotely, by telephone and mail only. This case contains

gigabytes of material and I have not even received the govrnment’s pretrial disclosures yet. It will be

impossible for Mr. Turnquist and I to prepare for trial under such restrictions. If Mr. Turnquist is

home, then he can help me prepare for this case because he will have access to the evidence, to a

computer to view it on, and have regular access to me and my office. Since Mr. Turnquist does not

present a danger or flight risk that Court-imposed conditions cannot resolve, fundamental fairness

and the Constitution demand that he be afforded the opportunity to prepare for this trial outside of

a jail cell, rather than inside one by telephone and mail only. This represents another reason for

release.




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      CaseCase 21-2563, Document 25,
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                                          A-370
                                           Conclusion

              25.     For the reasons set forth above and in previous filings, the Court should

adopt the recommendation of the Probation Office and Magistrate Judge McCarthy and release

Mr. Turnquist from custody forthwith.


Dated: September 24, 2021
       Williamsville, New York

                             SINGER LEGAL PLLC
                             Attorneys for Defendant Nicholas Turnquist

                             By:     s/ Robert C. Singer, Esq.
                                     Robert C. Singer, Esq.
                             80 East Spring Street
                             Williamsville, New York 14221
                             (716) 222-3288
                             rob@singerlegalpllc.com




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CaseCase 21-2563, Document 25,
     1:21-cr-00015-JLS-JJM     11/09/2021,
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                   Exhibit J
        (Hard Copy of Audio Recording)
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                  Exhibit K
        (Hard Copy of Video Recording)
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                                        A-373
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,

              v.                                                21-CR-15-JLS-JJM

NICHOLAS TURNQUIST,

                        Defendant.
________________________________________________


             GOVERNMENT’S REPLY MEMORANDUM IN SUPPORT
            OF ITS MOTION TO REVOKE THE MAGISTRATE JUDGE’S
                    ORDER RELEASING THE DEFENDANT

       The United States of America by and through its attorneys, James P. Kennedy, Jr.,

United States Attorney for the Western District of New York, and Paul E. Bonanno, Assistant

United States Attorney, hereby files this memorandum in further support of its Motion for

Review of Magistrate Judge’s Determination on Detention (the “Motion”) (Dkt. 40) and in

reply to the defendant’s memorandum filed in opposition (the “Opposition”) (Dkt. 43) to the

government’s Motion.



       I.     Defendant Fails To Overcome The Presumption Of Dangerousness.

       Almost all of the arguments the defendant makes in his Opposition were raised before

Judge McCarthy and were found by Judge McCarthy to be insufficient to overcome the

presumption for detention that exists in this case.      As the government noted in its

memorandum (the “Memorandum”) (Dkt. 40-1) filed in support of its Motion, the Indictment

here charges the defendant with an offense involving a minor victim in violation of Title 18,
            Case
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                                          A-374
United States Code, Section 2423(a). Consequently, there is a presumption that no condition

or combination of conditions will reasonably assure the defendant’s future appearance in

Court and the safety of the community. See 18 U.S.C. § 3142(e)(3)(E). The defendant bears

the burden of producing evidence to rebut the presumption set forth in Section 3142(e)(3)(E).

See United States v. Thompson, 436 F. Supp.3d 631, 635 (W.D.N.Y. 2020) (“The presumption

shifts to a defendant ‘a limited burden of production—not a burden of persuasion—to rebut

that presumption by coming forward with evidence that he does not pose a danger to the

community or a risk of flight.’” (citing United States v. Mercedes, 254 F.3d 433, 436 (2d Cir.

2001)).



          At the first detention hearing before Judge McCarthy, held on September 9, 2021, the

defendant argued at length the same points he makes now in his Opposition relating to the

dismissal of the case in Wyoming County, the victim’s trial testimony there, the defendant’s

lack of a criminal history, the defendant’s ties to the area, etc. See Motion, Ex. A, at 3-8, 12-

16. Judge McCarthy rejected these arguments and found, at the conclusion of the hearing,

that the defendant had not rebutted the presumption that the defendant poses a danger to the

community and a risk of flight. Id. at 18.



          At the second detention hearing before Judge McCarthy, held on September 17, 2021,

the only new “evidence” the defendant brought forward to rebut the presumption was

defendant’s mother’s ability to post a $50,000 bond secured by her house. Judge McCarthy

found that the proposed bail package proposed by the defendant “would reasonably assure”




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         Case
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                                         A-375
the Court that the defendant would not pose a risk of flight or danger to the community. See

Motion, Ex. B at 14.



       It is the government’s contention that the $50,000 bond is insufficient to overcome the

presumption set forth in Section 3142(e)(3), particularly the presumption that the defendant

presents a danger to the community. The fact that defendant’s mother is willing to post a

$50,000 bond is not evidence “‘contrary to the presumed fact’ of his dangerousness.” United

States v. Hicks, 15-CR-33-A, 2018 WL 11579881, at *7 (W.D.N.Y. May 5, 2017) (quoting

United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir. 1991)). The Second Circuit’s opinion in

Rodriguez is instructive. In Rodriguez, the defendant was charged with conspiring to distribute

and possess with intent to distribute more than 500 grams of cocaine, thus triggering the

presumption for detention. Rodriguez, 950 F.2d at 87. The trial court ordered the defendant

released, emphasizing his complete lack of a criminal record and following pretrial service’s

recommendation of release on a $100,000 security bond. Id. at 88-89. The Second Circuit

reversed the release order and ordered defendant detained.        The Court found that the

defendant had not overcome the presumption of dangerousness, despite his lack of a criminal

record and despite the $100,000 security bond: “We conclude that the district court erred in

determining that the bail package offered by Rodriguez reasonably would assure the safety of

the community. The existence of four cosigners and $10,000 cash may assure the appearance

of Rodriguez at trial but will not secure the safety of the community. Therefore, we vacate the

order of the district court and remand with instructions to detain Rodriguez.” Id. at 89. In

his Opposition, the defendant attempts to distinguish Rodriguez by emphasizing that the




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                                        A-376
government claimed the defendant in that case was a hitman. But here, it is alleged the

defendant raped his stepdaughter while she was in his care. Surely both crimes are heinous.

Also, in Rodriguez, the defendant was not charged with being a hitman, but only conspiring

to distribute cocaine. Here, in contrast, the defendant is charged with the very conduct that

demonstrates his dangerousness.



       II.    Defendant’s Release Poses A Risk To Children.

       The presumption of dangerousness is particularly well founded in this case. The

defendant is charged with sexually abusing his stepdaughter and, if released, he would have

access to other minor daughters. The defendant has four underage daughters (two biological

daughters and two stepdaughters). Judge McCarthy’s release order allows the defendant to

have contact with three of the four daughters (not the daughter who is a witness against him).

Judge McCarthy ordered that the defendant’s contact with minors be supervised by another

responsible adult, but that condition is insufficient because the defendant’s wife cannot be

trusted to supervise the defendant’s interactions with minors. First, according to Victim 1’s

trial testimony in Wyoming County, Carly Turnquist joined in the sexual abuse of Victim 1.

See Motion, Exhibit C, trial transcript, direct examination of Victim 1, at 42-43; Dkt. 1 ¶ 7.

Second, Carly Turnquist has been charged with felony witness tampering in Wyoming

County Court, as noted in the Motion. Third, two weeks ago, on September 15, 2021, Carly

Turnquist was charged with another crime, this time in the Town of Lancaster, where she

was charged by felony complaint with Aggravated DWI with a Child-Passenger Less than 16

(Leandra’s Law) in violation of the New York Vehicle and Traffic Law Section 1192-2. A




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copy of the felony complaint is attached hereto as Exhibit A. As set forth in the felony

complaint, Carly Turnquist was driving a motor vehicle while under the influence of

stimulants and sedatives and struck another vehicle at around 7:34 p.m. on Transit Road near

Como Park Blvd. in Lancaster. Her 9 year-old daughter was in the backseat of the vehicle at

the time.



       In light of Carly Turnquist’s own conduct as described above, she cannot be relied

upon to supervise the defendant’s interaction with his daughters. Consequently, the release

of the defendant would pose a serious risk of danger to the community, including his own

children. The presumption for detention imposed by Congress is warranted here and the

defendant should remain in custody.



                                      CONCLUSION

       The government respectfully requests that the District Court revoke Magistrate Judge

McCarthy’s release order and order that the defendant be detained pending trial.

       DATED: Buffalo, New York, September 28, 2021.


                                                 JAMES P. KENNEDY, JR.
                                                 United States Attorney

                                          BY:    s/ PAUL E. BONANNO
                                                 Assistant United States Attorney
                                                 United States Attorney’s Office
                                                 Western District of New York
                                                 138 Delaware Avenue
                                                 Buffalo, New York 14202
                                                 716-843-5873
                                                 Paul.Bonanno@usdoj.gov




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                        EXHIBIT A
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                                                 A-379                           Docket Number_______________

TOWN OF LANCASTER                                                                   CD #:21-114123
COUNTY OF ERIE STATE OF NEW YORK
                                                                       )       FELONY
                 The People of the State of New York
                                                                       )
                                  vs.
                                                                       )
         CARLY M. TURNQUIST DOB: 09/20/1986                                   INFORMATION / COMPLAINT
                                                                       )
                          65 VILLA AV
                                                                       )
                       BUFFALO, NY 14216
                                                                       )

I, Police Officer GARRETT D. SZPYLMAN, a police officer herein, accuse CARLY M. TURNQUIST, the
DEFENDANT of this action, and charge that on or about Wednesday, September 15, 2021 at 5111 TRANSIT
RD in the TOWN OF LANCASTER TOWN, County of ERIE, at about 07:34 PM, said DEFENDANT did
commit the offense of:

           AGGRAVATED DWI:WITH A CHILD-PASSNGER LESS THN 16-1ST OFFENSE

a class E FELONY contrary to the provisions of section 1192, subsection 2-AB of the Motor Vehicle and Traffic
Law of the State of New York.

NO PERSON SHALL OPERATE A MOTOR VEHICLE IN VIOLATION OF 1192-2, 3, 4 OR 4-A OF THIS
SECTION WHILE A CHILD WHO IS FIFTEEN YEARS OF AGE OR LESS IS A PASSENGER IN SUCH
MOTOR VEHICLE.

TO WIT: THE OFFENDER DID OPERATE NY# KEB2697 ON TRANSIT RD. WHILE UNDER THE
INFLUENCE OF AND INTOXICATED BY STIMULANTS AND SEDATIVES. THE OFFENDER DID
STRIKE ANOTHER VEHICLE AT THE TIME OF IMPAIRMENT ON TRANSIT RD. AT COMO PARK
BLVD. THE OFFENDER DID HAVE HER NINE-YEAR-OLD DAUGHTER IN THE BACK SEAT AT THE
TIME OF THE ACCIDENT AND IMPAIRMENT. THE CHILD IS ALEIGHIA SINGER, BORN 05/26/2012.

ALL CONTRARY TO THE PROVISIONS OF THE STATUTE IN SUCH CASES MADE AND PROVIDED.
THE ABOVE ALLEGATIONS OF FACT ARE MADE BY THE COMPLAINANT HEREIN ON DIRECT
KNOWLEDGE.



Therefore, the complainant requests that said defendant be dealt with according to the provisions of the Criminal
Procedure Law, and according to law.


                                                     NOTICE
                                            (Penal Law, Section 210.45)
  It is a crime, punishable as a Class A Misdemeanor under the Laws of the State of New York, for a person, in a
written instrument, to knowingly make a false statement, or to make a statement which such person does not believe
                                                    to be true.


                                                                       ___________________________________
                                                                                                Complainant

Subscribed and sworn to me this
            Case
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16th of September, 2021                A-380
___________________________________
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                         A-381
                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,        *          Docket Number:
                                        1-21-CR-00015-JLS-JJM
                            *
                            *                 Buffalo, New York
             v.             *                 September 30, 2021
                            *                 10:04 a.m.
                            *
 NICHOLAS TURNQUIST,        *                 ORAL ARGUMENT
                            *
             Defendant (1). *
                            *
* * * * * * * * * * * * * * *


                      TRANSCRIPT OF PROCEEDINGS
              BEFORE THE HONORABLE JOHN L. SINATRA, JR.
                    UNITED STATES DISTRICT JUDGE


APPEARANCES:

For the Government:               JAMES P. KENNEDY, JR.,
                                  UNITED STATES ATTORNEY,
                                  By PAUL E. BONANNO, ESQ.,
                                  Assistant United States Attorney,
                                  Federal Centre,
                                  138 Delaware Avenue,
                                  Buffalo, New York 14202,
                                  Appearing for the United States.


For the Defendant:                SINGER LEGAL, PLLC.,
                                  By ROBERT C. SINGER, ESQ.,
                                  80 East Spring Street,
                                  Williamsville, New York 14221.


The Courtroom Deputy:             KIRSTIE L. HENRY


Court Reporter:                   BONNIE S. WEBER,
                                  Notary Public,
                                  Robert H. Jackson Courthouse,
                                  2 Niagara Square,
                                  Buffalo, New York 14202,
                                  Bonnie_Weber@nywd.uscourts.gov.
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                               A-382
 1
               Proceedings recorded by mechanical stenography,
 2                     transcript produced by computer.

 3

 4                    (Proceedings commenced at 10:04 a.m.)

 5

 6               THE CLERK:    All rise.

 7               The United States District Court for the Western

 8   District of New York is now in session.           The Honorable John

 9   Sinatra presiding.

10               United States v. Nicholas Turnquist, case number

11   21-CR-15.    This is the date set for oral argument.

12               Counsel, please state your appearances for the record.

13               MR. BONANNO:    Good morning, Your Honor.        Paul Bonanno,

14   for the Government.

15               MR. SINGER:    Good morning, Judge.      Robert Singer, on

16   behalf of Mr. Turnquist, who is present.

17               THE COURT:    Good morning, Counsel.       Good morning,

18   Mr. Turnquist, as well.

19               THE DEFENDANT:    Good morning, Your Honor.

20               THE COURT:    We're here today on the Government's

21   motion to revoke the magistrate judge's order of release and my

22   review is de novo.

23               Mr. Bonanno, have victims been given notice of today's

24   proceeding?

25               MR. BONANNO:    Yes.   They have, Your Honor.
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                              A-383
 1              THE COURT:     Okay.   I have studied the submissions,

 2   transcripts of proceedings before Judge McCarthy and the

 3   complaint, as well, and I'd like to start with a few questions

 4   here.

 5              Mr. Bonanno, why aren't the proposed conditions enough

 6   to reasonably assure the safety of the community?

 7              MR. BONANNO:     Your Honor, our concern here is the

 8   danger this defendant poses to the community, particularly

 9   children, given the charge here and given his conduct, as

10   alleged both in our indictments, as well as the indictments

11   pending in Erie County and Genesee County against the defendant.

12              The defendant here is charged with sexually abusing

13   his stepdaughter when she was a minor in his care.

14   Specifically, the allegation in our indictment is that he

15   traveled with his stepdaughter, who was 16 at the time, to

16   Pennsylvania to engage in illegal sexual activity with her

17   there, and that he brought her and two younger daughters on that

18   trip.

19              The concern here, specifically with respect to the

20   conditions that were set by Judge McCarthy, is that he allows in

21   those conditions the defendant to have contact with children,

22   with underage minors.

23              Now, the condition is that, that contact be

24   supervised, but it's the Government's position that the

25   supervision is not sufficient.
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                             Proceedings - 09/30/21                                4
                              A-384
 1              For example, the defendant's wife, Carly Turnquist,

 2   was engaged with the defendant in the sexual abuse of the minor

 3   victim in this case.

 4              When she moved in with the defendant and the victim,

 5   and at that point in time, was the defendant's girlfriend, she

 6   engaged in sexual activity with the defendant and the victim.

 7              That, in and of itself, I think, should indicate that

 8   she certainly cannot be trusted to supervise the defendant's

 9   contact with children.

10              There are three children.        Specifically, three

11   daughters that the defendant has with whom he can have contact.

12   One of the daughters, who is a biological daughter of the

13   defendant and is a witness against him in the Government's case,

14   Judge McCarthy said he cannot have contact with.

15              And we appreciate that, but he is allowed to have

16   supervised contact with the other three daughters.               Now, Carly

17   Turnquist not only assisted with the sexual abuse of the victim

18   in this case, but she has two pending felony charges against her

19   right now.

20              One in Wyoming County for witness intimidation for an

21   incident that occurred the day the victim testified in Wyoming

22   County.

23              But then also two weeks ago, she picked up another

24   felony charge in Lancaster.        It is a Leandra's Law violation.

25   It was a Wednesday night, September 15th.           She was driving
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                              A-385
 1   around 7:30 p.m. in the area of Transit Road and Como Park

 2   Boulevard in Lancaster.

 3              And she got into a motor vehicle accident.            She had

 4   her two daughters, I believe eight and nine years old, in the

 5   backseat of the car.

 6              The responding Lancaster police officer determined

 7   that she was heavily intoxicated, had hit another car, and

 8   failed all the field sobriety tests.

 9              And this occurred with the daughters in the back seat.

10   And, in fact, she started to pass out in the back of the patrol

11   car.

12              So we're very concerned that if the defendant is

13   released and allowed to have contact with his daughters and

14   other children, he cannot be trusted with them, given his

15   conduct, as alleged here, and given the inability, we think,

16   certainly, of Carly Turnquist to provide any kind of adequate

17   supervision.

18              But even beyond that, just given his history, given

19   the fact that he is charged with sexually abusing his own

20   stepdaughter in his care repeatedly over years, as reflected by

21   our indictment and the other two indictments, we have grave

22   concerns about the danger he poses to the safety of the

23   community.

24              THE COURT:     Who has custody of the daughters now?

25              MR. SINGER:     Just for the purpose of clarification,
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                              A-386
 1   Judge, there aren't daughters.         It's a daughter and son.   I just

 2   want to make sure we have our facts straight.

 3              THE COURT:     Okay.    Who has custody of the daughter and

 4   son right now?     There are two minors?

 5              MR. SINGER:     They're two minors.

 6              THE COURT:     Today?

 7              MR. SINGER:     Carly Turnquist's biological children,

 8   not his children, and she has custody of those children.

 9              THE COURT:     And the defendant's son and daughter

10   are -- there are two minors that fit that category, right?

11              MR. SINGER:     They are minors that are not in his

12   custody.    They're in the mother's custody.

13              THE COURT:     That's the question.      So the mother has

14   custody of the defendant's daughter and son, who are minors?

15              MR. SINGER:     Just for clarification, Judge, so there

16   is -- there is a daughter and son that Carly Turnquist --

17              THE COURT:     Yeah.

18              MR. SINGER:     -- is the biological mother of --

19              THE COURT:     Right.

20              MR. SINGER:     -- that he doesn't have a relationship

21   with --

22              THE COURT:     Right.

23              MR. SINGER:     -- other than just being together with --

24              THE COURT:     Right.   I'm not asking -- I'm not asking

25   about them.     I'm asking about the defendant's children.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page113 of 133
                             Proceedings - 09/30/21                         7
                               A-387
 1               MR. SINGER:    So with regard to his biological

 2   daughters, they are in the custody of Amanda, who is his

 3   ex-wife.

 4               THE COURT:    Okay.

 5               MR. SINGER:    Who is the mother, biologically.

 6               THE COURT:    Were they in his custody before he was

 7   arrested?

 8               MR. SINGER:    They were, Judge.

 9               THE COURT:    Right up until the time he was arrested?

10               MR. SINGER:    Correct.

11               THE COURT:    Mr. Bonanno, what does the Government have

12   to say about risk of flight?

13               MR. BONANNO:    Your Honor, we are concerned also about

14   risk of flight and I made this argument to Judge McCarthy

15   because the defendant is facing three different indictments.

16               In this indictment, he faces a mandatory minimum -- if

17   convicted, a mandatory minimum sentence of ten years,

18   potentially up to life.       And so we think that that certainly

19   would give him incentive to flee, and the fact that he's facing

20   indictments in Genesee County and Erie County.

21               So for all those reasons, we are concerned about his

22   risk of flight, but our primary -- or my primary focus this

23   morning, Your Honor, candidly, is dangerousness.

24               THE COURT:    Okay.

25               Mr. Singer, what do you say about all of that and how
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                              A-388
 1   does your client rebut the presumption?           Why is the release

 2   appropriate here?      It's really all the same question.

 3              MR. SINGER:     I understand, Judge.      I guess what I

 4   would say is that what the Government has played out here is a

 5   lot of things about Carly Turnquist, all right.

 6              And I think we made that clear in the motion, that has

 7   very limited relevance, if any relevance at all to any of the

 8   considerations because Carly Turnquist is not sitting to my

 9   left, Nicholas Turnquist is.

10              Carly Turnquist, based on the allegations and based on

11   the charges that, whether it's the Federal Government or the

12   state government has brought, engaged in a consensual sexual,

13   legal activity with the alleged victim in this case, M.K.

14              So to say that she facilitated anything that he did

15   that's charged in this indictment and alleged in the indictment

16   or any of the other indictments out there is not accurate.

17              She is not charged as an accomplice.          She is not

18   charged with engaging in this type of activity and the reason

19   why is because she didn't transport anyone over state lines.

20              She didn't assist in transporting anyone over state

21   lines and she engaged in consensual legal activity under the

22   laws of the State of New York, so I think that's the first thing

23   I would like to bring up to the Court's attention.

24              The second thing that I think is important is they

25   claim that there's this risk of danger with regard to other
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page115 of 133
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                              A-389
 1   children that are either his biological children or other

 2   children that he's around.

 3              Judge, there is no allegations -- no allegations

 4   regarding any other child in this case that Mr. Con --

 5   Mr. Turnquist has had contact with, biological, step, or

 6   otherwise.

 7              There is no allegations that he engaged in this type

 8   of activity with any stranger victim at all.            And these people

 9   were all interviewed by the CAC, by police, to determine whether

10   or not anything was going on.

11              And every single one of those people denied that

12   Mr. Turnquist did anything to them.          And they were given the

13   opportunity in a safe environment to make those allegations

14   clear, and they have never wavered from that since, Judge.

15              So I think it's a reach to say that, well, he's

16   obviously going to sexually assault other children that he has

17   contact with because that is not the case, based on the evidence

18   that was brought forth to me in the Government's own

19   disclosures.

20              The Government also basically states that, well, he

21   has a history.     The history in this case is based on the

22   allegations involved with Ms. K, and Ms. K, alone.

23              I'm not going to belabor the points, as I said in my

24   response, to the Government's appeal in this case.               But you

25   know, needless to say, we have a disagreement over the strength
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page116 of 133
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                              A-390
 1   of the allegations in this case.

 2               We are never going to convince each other otherwise at

 3   this point, but I don't think it's your job either to be

 4   convinced otherwise about, you know, what are the validity of

 5   these allegations?

 6               The basis of the matter is, is that they are contested

 7   and there are a lot of different motivations that we put forth.

 8   There was a lot of different testimony that was given falsely

 9   that was put forth, Judge, which I think raises some questions

10   as to whether or not the strength of the Government's case is

11   really there or not.

12               And if you look back beyond the allegations in this

13   case, Judge, Mr. Turnquist's history is just that of a regular

14   citizen.

15               He holds a job.     He has ties to the community.    He

16   does work.    He's worked in law enforcement, as well as first

17   responder capacities in the past.

18               There is not a single thing to indicate that he would

19   flee, based on the fact that he's never had any type of flight

20   offenses.

21               When the police came over to his house in April of

22   2020, he engaged with them.        He voluntarily went down to the

23   police station.      He sat down for a four-hour interview with them

24   and then he was arrested.        So he never ran away from them.      He

25   never tried to abscond.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page117 of 133
                             Proceedings - 09/30/21                            11
                              A-391
 1              And on top of that, as we point out in our motion, he

 2   doesn't have any history of substance abuse.            He doesn't have

 3   any history of any other type of behavior that would indicate

 4   that he would be a risk of flight or he would be a danger to the

 5   community, other than what the Government's allegations are in

 6   this case.

 7              And again, they are disputed.         They are just

 8   allegations at this point.        None of them have been proven.     We

 9   put together a bail package in front of Judge McCarthy.

10              And originally, I told the judge and asked the judge,

11   please don't pose a financial condition in this case because of

12   all the other financial conditions that are going to be imposed

13   by the other jurisdictions.

14              And Judge McCarthy, you know, stated in the first bail

15   hearing we had, you know, Mr. Singer, I'm going to dismiss, you

16   know, this request, but I'm going to allow you to bring it again

17   without prejudice.

18              And I sat down with the family and had some hard

19   conversations with them and we were able to come up with a

20   surety interest and that to -- to Judge McCarthy, along with all

21   the other conditions he put forth.

22              You know, again, the conditions that he put forth in

23   the record that the Government didn't address with you, other

24   than just the supervision aspect involving Ms. Turnquist in that

25   other case, was reporting to pretrial services, surrender your
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page118 of 133
                             Proceedings - 09/30/21                             12
                              A-392
 1   passport, no new travel, restricted to the Western District of

 2   New York, avoiding contact with the witnesses.            In particular,

 3   no contact with Minor Two.

 4              Don't possess a firearm, electronic monitoring, home

 5   detention.    Don't engage in any type of obstruction of justice.

 6   There's computer conditions regarding searching out child

 7   pornography or adult pornography.

 8              And he consented to monitoring on that.           Mental health

 9   intervention and treatment, if that's something that would be

10   appropriate.

11              And the probation office, on top of that, agreed that

12   all these conditions, prior to Judge McCarthy putting them in,

13   were something that they were comfortable with supervising him.

14              So I guess, you know, what I find here interesting is

15   that the Government's coming before you and asking you to be the

16   only judge -- the only judge out of three jurisdictions that

17   have active cases right now, to remand Mr. Turnquist without

18   bail.

19              The other judges in this case have found suitable

20   conditions that he's going to appear for trial and have found

21   that -- you know, he's not this overwhelming danger.

22              And I just -- you know, again, I -- my concern in this

23   case is that I need Mr. Turnquist to help me and he can't do

24   that from a jail cell right now, where I can't even meet him by

25   anything other than a phone.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page119 of 133
                             Proceedings - 09/30/21                         13
                              A-393
 1              And I think that there are conditions that were put

 2   out -- I think Judge McCarthy put forward a sober analysis of

 3   this case and I think he put in conditions that would assure the

 4   safety of the community and I believe that we put forth evidence

 5   that rebuts that presumption and that's why Judge McCarthy ruled

 6   the way he did.      I think you should rule the same, Judge.

 7              THE COURT:     Mr. Singer, regarding whether I should be

 8   the only judge to remand your client, don't I have a unique

 9   indictment with unique evidence and unique corroboration here in

10   front of me that's not at issue in the State cases?

11              MR. SINGER:     No.   Respectfully, Judge, I don't think

12   you have everything.       The evidence that was presented before

13   Judge McCarthy, as well as before you, is the same evidence that

14   was presented before all the other judges in the case.

15              And the allegations involved in the case, while they

16   don't involve in the State cases, transportation across state

17   lines, do involve the same core crux of allegations that are

18   present in this one.

19              And what we expect to be presented in this case, which

20   is, he engaged in activity with her between the ages of 12 to 18

21   that was nonconsensual in nature, whether it was based on her

22   age or whether it was based on force.

23              So, you know, I think the unique part of this case is

24   that it's charged Federally.        That there is interstate travel,

25   that is required as part of the elements.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page120 of 133
                             Proceedings - 09/30/21                               14
                              A-394
 1              And also that, you know, there is the element of --

 2   you know, engaging in a sexual relationship with someone under

 3   the age of 18 is illegal in Federal Court, but is legal in State

 4   Court, because the age of consent in New York is 17.

 5              So I think that's the unique aspect of this case, but

 6   I don't think there is unique aspects to this case.              And the

 7   corroboration -- I guess, I look at, what has the Government

 8   corroborated.     And I guess, what is in dispute?

 9              The corroboration is -- well, there are billing

10   records that show that he traveled on such and such a date down

11   to Erie, Pennsylvania.

12              We don't dispute that, Judge.         We never disputed that,

13   Judge.    What we are disputing is the acts of sexual intercourse

14   with the alleged victim in this case at that water park.

15              And I guess, when I look at, you know, the

16   corroborating evidence on that, we have the fact that, well,

17   Ms. K said this over and over to police and she testified under

18   oath to it in some limited capacity at the Wyoming County trial.

19              You know, that's -- that's what we have on that.            And

20   then they point to the fact that we have a statement from a

21   five-year-old who says that, well, I saw my sister in bed with

22   Mr. Turnquist and he was on top of her.

23              She didn't say, I saw them having sex.           She didn't say

24   that.    And this is coming from a five-year-old in a dark room,

25   in the middle of the night.        A five-year-old, I might add, who
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page121 of 133
                             Proceedings - 09/30/21                             15
                              A-395
 1   has developmental issues and delays.

 2              So I don't think that's necessarily, you know, a

 3   strong corroborating fact.        And it doesn't involve necessarily

 4   this incident that's alleged in the indictment either.

 5              And the other thing is, is that they point to what is

 6   a controlled call.      And again, we've been through the briefing

 7   on that multiple different times, Judge.

 8              There is a difference the Government has regarding

 9   what their theory is and there is a difference between what we

10   have.    Mr. Turnquist states in that Turnquist (sic), I regret

11   that it happened.

12              Not that I regret that I -- I sexually assaulted you

13   when you were 12 or I sexually assaulted you in Erie,

14   Pennsylvania, when you were 16.

15              And, again, I go back to look at those text messages

16   that you reviewed.      What does it talk about?        It talks about a

17   sexual consensual relationship between Ms. K. and Mr. Turnquist

18   that occurred when she was 17 years old, going into 18 years

19   old, inside the State of New York, not outside of it.

20              And you know, that she denied in the Wyoming County

21   trial.    She said, no, you know, I never sent those messages.

22   No, this is all rape.

23              Again, you know, that goes to the core of the

24   allegations, to the corroborations provided.            I disagree that

25   it's as strong as the Government's proffer in this case.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page122 of 133
                             Proceedings - 09/30/21                              16
                              A-396
 1              THE COURT:     While you're talking about the

 2   corroboration topics, what do you want to say about the -- if

 3   anything, about the phone call between your client and his wife

 4   while he was in jail -- the jailhouse phone call?

 5              MR. SINGER:     What I would say to that, Judge, is that

 6   that was well before my appointment in this case.

 7              In speaking, you know, with the family and in speaking

 8   with the client, they've had dissatisfaction with some of the

 9   lawyers that had been involved in this case previous to me.

10              That conversation occurred earlier on in the case and

11   Mr. Turnquist and his wife are not attorneys.            They are not

12   educated in the law and when I listen to that conversation, you

13   know, I kind of chuckled in some ways because I hear that kind

14   of conversation either in my office or I hear it on recorded

15   phone calls all the time.

16              And it's two people trying to figure out, hey, what's

17   the legal defense in this case -- who may not necessarily know

18   what they're talking about.

19              And they are trying to grasp at straws because they

20   are desperate, number one, to defeat the allegations that have

21   been leveled against them because they don't believe they are

22   true.

23              And number two, they're trying to put their heads

24   together to try to get back together because at that point, they

25   were separated, and separated for several months.                And there was
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page123 of 133
                             Proceedings - 09/30/21                        17
                              A-397
 1   no end in sight and their lawyers were not doing anything to

 2   change the analysis.

 3              THE COURT:     Don't all of these little pieces of

 4   corroboration, the five-year-old daughter, the two phone calls,

 5   the records, don't they all mean something for the weight of the

 6   evidence, which is a factor here?

 7              MR. SINGER:     They may mean something for the weight of

 8   the evidence factor, Judge.        Of course, that's something that

 9   you have to weigh.      But as we also stated in our papers, that's

10   but one factor.

11              And when it comes down to bail, you know, there is no

12   requirement that I disprove the allegations that the Government

13   is levying against my client to secure an opportunity for

14   pretrial release.

15              There is no obligation that they prove those because

16   that's one factor in the analysis.          And the other factors, when

17   you take a look at them again -- you know, what are the

18   reasonable, least-restrictive conditions that can ensure both

19   his appearance at trial and the safety of the community?

20              What are his history and characteristics that suggest

21   whether or not he is going to commit additional offenses or

22   flee?

23              All of those things, when you take a look at them in

24   balance -- you know, if the Government wins on one factor, it

25   doesn't win on all of them.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page124 of 133
                             Proceedings - 09/30/21                        18
                              A-398
 1              And, again, I go back to those factors.           Those

 2   conditions are put in place by Judge McCarthy.            Those are

 3   conditions that will assure those things.           His history and

 4   characteristics does not suggest that those won't.

 5              And that's the analysis on whether or not he should be

 6   released, pending trial, because, again, he's presumed innocent

 7   until proven guilty and we haven't reached that point yet.

 8              THE COURT:     Mr. Bonanno, what about the point that the

 9   defendant isn't being accused of conduct outside of Victim One?

10              MR. BONANNO:     Your Honor, I don't think that the

11   presumption depends on that.        I don't think that there is a need

12   for there to be other victims for this presumption to arise.

13              So I think that he's presumed dangerous, even with one

14   victim under the law, because given his conduct, as alleged,

15   with that one victim, there is reason to be concerned about how

16   he is going to treat other minors, other daughters, quite

17   frankly.

18              And I think that that presumption is what really

19   distinguishes the position that Your Honor is in from the State

20   Court judges.

21              True, they did not remand the defendant, but they

22   don't have the presumption that applies in this case, and that's

23   a big difference.

24              And I also think that there is more corroboration for

25   the Federal charge than there is in the State charges, because
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page125 of 133
                             Proceedings - 09/30/21                            19
                              A-399
 1   for the Federal charge, we only need to show that he engaged in

 2   this conduct with the victim when she was 17.            Under 18.   So 17,

 3   16, 15 all apply.

 4              And he admitted to East Aurora detectives that he had

 5   sex with the victim when she was 17.          So that's an additional

 6   level of corroboration that we have that they don't have in

 7   State Court because of the age threshold here in Federal Court.

 8              And that also the jail call that Your Honor brought up

 9   does corroborate the Federal charge because he says, could you

10   please look up the age of consent in Pennsylvania, South

11   Carolina, Florida, these other states, so that -- you know, if

12   the age of consent is, Pennsylvania, 15.           Hey, then it's legal.

13              Well, that clearly suggests that he knows he had

14   sexual conduct with the victim when she was 15, 16.              So I think

15   there is a lot more before this Court than there is in the State

16   courts.

17              THE COURT:     Does the Government believe that there is

18   a risk of danger to Victim One still?          I know there is some

19   allegations of a threat or some threats that occurred years ago.

20              MR. BONANNO:     The -- yes.     The Government is very

21   concerned about the risk of danger to Victim One, given, as she

22   testified under oath in Wyoming County Court, a long history of

23   threats by this defendant against her, if she ever told on him.

24              And repeated instances of physical violence against

25   her, including punches.       Those -- that history, along with the
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page126 of 133
                             Proceedings - 09/30/21                           20
                              A-400
 1   witness intimidation that is alleged to have occurred the very

 2   day she testified, causes us to feel very concerned about Victim

 3   One's safety.

 4              THE COURT:     Mr. Singer, the last word.

 5              MR. SINGER:     Yeah, Judge.     I guess, in regard to this

 6   history of potential threats or threats and intimidation

 7   regarding M.K., again, as we state in our motion, Mr. Turnquist

 8   is not charged with witness intimidation.           He never was.

 9              And it was because he didn't engage in any acts of

10   witness intimidation.       It wasn't coordinated and whatever Carly

11   Turnquist may or may not have done, is at this point -- again,

12   that's an unproven allegation.

13              And we put forward evidence to you to show that, you

14   know, there is some issues with some of the allegations.            It

15   doesn't involve him.       And so, you know, that's the important

16   part of your analysis.

17              I think the other part regarding this long history of

18   threats or abuse.      Again, you know, I do a lot of cases

19   involving Family Court sometimes and, you know, the one thing

20   that I have learned in all those cases, and your judicial

21   experience probably teaches you, as well, is that kids get

22   older, they can vote with their feet.

23              And if they feel like they are in a bad situation when

24   they start to get 16 or 17 or even 18 years old, they can leave,

25   and they do leave.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page127 of 133
                             Proceedings - 09/30/21                           21
                              A-401
 1               And I think what's very interesting in this case is

 2   that Ms. K. remained with Mr. Turnquist when she had the choice

 3   to go to her mother, because she didn't feel that she would be

 4   in a better situation with her mother.           She felt she was in a

 5   better situation with Mr. Turnquist.

 6               And, you know, if these allegations are as true as the

 7   Government plays out to you today, why would someone do that?

 8   You know, I can -- I think the Court can probably understand why

 9   a 12-year-old would do that.

10               But when someone is 18, when someone has a boyfriend

11   and then a fiancé and they have the ability to move away from

12   someone who has repeatedly abused them for all these years, that

13   the Government alleges, and they don't -- I mean, that raises a

14   lot of eyebrows to me.       A lot of questions.

15               And, you know, I think it's instructive as to why

16   these threats that have been stated by Ms. K., their validity is

17   a little suspect.

18               I think the other part, you know, that I would

19   recognize, too, Judge, is the concern of the Government in this

20   case is -- well, we're concerned that he might have access to

21   children.    He could live with his father, who doesn't have any

22   children.

23               He could live potentially with his mother, who doesn't

24   have any children, because that would be a least-restrictive

25   condition that would allow him to be released pretrial and would
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page128 of 133
                             Proceedings - 09/30/21                    22
                              A-402
 1   potentially, you know, afford some assurance to the Government

 2   that he wouldn't have access to children to do these things.

 3              Because, again, what does the Bail Reform Act require?

 4   It requires the least restrictive conditions, not the most

 5   restrictive conditions.

 6              As I stated in my brief, the goal here is not to

 7   remove any and all risk or to absolutely guarantee appearance.

 8   It's to put conditions in effect that reasonably assure that.

 9   And I think that's your job today and I think that the

10   conditions put into effect by Judge McCarthy do that.

11              THE COURT:     I'm not going to consider any of the

12   allegations related to your client's current wife, Carly

13   Turnquist.

14              Nevertheless, I'm going to grant the Government's

15   motion to revoke Judge McCarthy's release order.

16              Under Title 18, United States Code 3142(e), I must

17   independently determine if a condition or combination of

18   conditions will reasonably assure Mr. Turnquist's appearance, as

19   required, and the safety of the community.

20              If I find that no such condition or combination of

21   conditions exists, I must order Mr. Turnquist detained, pending

22   trial.

23              I've given these arguments here today, including the

24   written submissions, a lot of consideration and I do not think

25   that release is warranted under these facts.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page129 of 133
                             Proceedings - 09/30/21                           23
                              A-403
 1               A Grand Jury indicted Mr. Turnquist on one count of

 2   transporting a minor with intent to engage in criminal sexual

 3   activity.

 4               He's charged with an offense involving a minor victim

 5   under Section 2423(a) and the rebuttable presumption in

 6   18 United States Code 3142(e)(3)(E) applies.

 7               I further find that Mr. Turnquist has not introduced

 8   sufficient evidence to rebut that presumption, that no condition

 9   or a combination of condition will reasonably assure the safety

10   of the community, if he were released pending trial.

11               I've considered all of the factors in 18

12   U.S.C. 3142(g), including all subsections.           Specifically, the

13   nature and circumstances of the offenses or the offense --

14   excuse me -- the weight of the evidence, Mr. Turnquist's history

15   and characteristics, and the danger to the community.

16               The offense is -- obviously, the alleged offense is

17   obviously a serious one, it carries a minimum of ten years of

18   incarceration with a maximum term of incarceration of life and

19   it qualifies as a crime of violence involving a minor.

20               I have relied on the corroboration that I mentioned in

21   my questioning, including from Minor Two and the phone call from

22   the Wyoming County jail and the controlled phone call with

23   Victim One, as well as the corroborating records regarding the

24   Splash Lagoon stay in December of 2014.

25               I have considered, as well, the -- the threats related
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page130 of 133
                             Proceedings - 09/30/21                     24
                              A-404
 1   to Victim One.     Even though they are dated, I have considered

 2   them, nonetheless.      And I've considered the risk of harm to

 3   other minors, including the potential access to other minors in

 4   my decision.

 5              My analysis of these factors is based on my

 6   consideration of the parties' arguments and written submissions,

 7   the Government's proffer, the transcripts of the detention

 8   hearings before Judge McCarthy on September 9 and September 17,

 9   the pretrial services report, dated September 2, 2021, and the

10   indictment, the criminal complaint signed by Judge McCarthy and

11   the affidavit of Randall Garver, Special Agent of the FBI, in

12   support of the complaints.

13              I find by clear and convincing evidence that

14   Mr. Turnquist's release would pose a danger to the safety of

15   others in the community and that no condition or combination of

16   conditions will assure the safety of others or the community if

17   Mr. Turnquist were released, pending trial.

18              I base that conclusion on all the facts and factors

19   just discussed.      Because I find that the Government established

20   Mr. Turnquist's danger to the community by clear and convincing

21   evidence, I need not decide whether his release poses a risk of

22   flight.

23              The transcript of my oral ruling here today shall

24   constitute my written findings and decision on the motion.

25   There will be a text order, as well.
     Case 21-2563, Document 25, 11/09/2021, 3208082, Page131 of 133
                             Proceedings - 09/30/21                   25
                               A-405
 1               Counsel, do either of you having anything further?

 2               MR. BONANNO:    No, Your Honor.      Thank you.

 3               MR. SINGER:    No, Judge.

 4               THE COURT:    Okay.

 5               Mr. Turnquist is remanded to the custody of the

 6   marshals.    Have a good day.

 7               MR. BONANNO:    Thank you, Judge.

 8

 9                    (Proceedings concluded at 10:34 a.m.)

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     Case 21-2563, Document 25, 11/09/2021, 3208082, Page132 of 133
                                                                      26
                              A-406
 1

 2      In accordance with 28, U.S.C., 753(b), I certify that these

 3    original notes are a true and correct record of proceedings in

 4     the United States District Court for the Western District of

 5          New York before the Honorable John L. Sinatra, Jr.

 6

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 9

10      s/ Bonnie S. Weber                        October 8, 2021
        Signature                                 Date
11

12   BONNIE S. WEBER
13   Official Court Reporter
     United States District Court
14   Western District of New York

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           Case    21-2563, Document 25,Document
                1:21-cr-00015-JLS-JJM    11/09/2021,
                                                 54 3208082,  Page133
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                                                    A-407
Criminal Notice of Appeal - Form A


                                             NOTICE OF APPEAL
                                            United States District Court

                                        Western
                                    _______________               New York
                                                    District of _______________

Caption:
United States of America
_____ _____ ________________________ v.

                                                                                      21-CR-15-JLS-JJM
Nicholas Turnquist
__________________________________
                                                                          Docket No.: ___________________________________
                                                                                       John L. Sinatra, Jr.
                                                                                      ___________________________________
                                                                                             (District Court Judge)

                            defendant-appellant Nicholas Turnquist
Notice is hereby given that _________________________________________________ appeals to the United States Court of

                                                                  ✔   interlocutory order detaining the defendant
Appeals for the Second Circuit from the judgment [____], other [____] ____________________________________________________
                                                                                          (specify)
                          September 30, 2021
entered in this action on _________________________.
                                 (date)



This appeal concerns: Conviction only [___] Sentence only [___] Conviction & Sentence [___] Other [___]       ✔
                                                      ✔
Defendant found guilty by plea [___] trial [___] N/A [___].

Offense occurred after November 1, 1987? Yes [___] No [___] N/A [___]      ✔
Date of sentence: __________________________ N/A [___]        ✔
                                      ✔
Bail/Jail Disposition: Committed [___] Not committed [___] N/A [___]




                                             ✔
Appellant is represented by counsel? Yes [___] No [___] If yes, provide the following information:


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                                                        _______________________________________________________
                                                                               Signature
                                                              Robert C. Singer, Esq.
                                                              Counsel for Defendant-Appellant Nicholas Turnquist
